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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 KAMIYA WILLOUGHBY, derivatively on
 behalf of NATIONAL BEVERAGE CORP.,

        Plaintiff,

        v.
                                                      C.A. No.
 NICK A. CAPORELLA, GEORGE R.
 BRACKEN, JOSEPH G. CAPORELLA, CECIL
 D. CONLEE, SAMUEL C. HATHORN, JR.,  DEMAND FOR JURY TRIAL
 and STANLEY M. SHERIDAN,

        Defendants,

        and

 NATIONAL BEVERAGE CORP.,

        Nominal Defendant.


                       SHAREHOLDER DERIVATIVE COMPLAINT

                                        INTRODUCTION

       Plaintiff Kamiya Willoughby (“Plaintiff”), by her undersigned attorneys, derivatively and

on behalf of Nominal Defendant National Beverage Corp. (“NBC” or the “Company”), files this

Verified Shareholder Derivative Complaint against Individual Defendants Nick A. Caporella,

George R. Bracken, Joseph G. Caporella, Cecil D. Conlee, Samuel C. Hathorn, Jr., and Stanley

M. Sheridan (collectively, the “Individual Defendants” and together with NBC, the

“Defendants”) for breaches of their fiduciary duties as directors and/or officers of NBC, unjust

enrichment, waste of corporate assets, and violations of Section 14(a) of the Securities Exchange

Act of 1934 (the “Exchange Act”). As for Plaintiff’s complaint against the Individual

Defendants, Plaintiff alleges the following based upon personal knowledge as to Plaintiff and

Plaintiff’s own acts, and information and belief as to all other matters, based upon, inter alia, the


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investigation conducted by and through Plaintiff’s attorneys, which included, among other

things, a review of the Defendants’ public documents, conference calls and announcements made

by Defendants, United States Securities and Exchange Commission (“SEC”) filings, wire and

press releases published by and regarding NBC, legal filings, news reports, securities analysts’

reports and advisories about the Company, and information readily obtainable on the Internet.

Plaintiff believes that substantial evidentiary support will exist for the allegations set forth herein

after a reasonable opportunity for discovery.

                                   NATURE OF THE ACTION

       1.      This is a shareholder derivative action that seeks to remedy wrongdoing

committed by NBC’s directors and officers from July 17, 2014 through the present (the

“Relevant Period”).

       2.      NBC is an acknowledged leader in the development, manufacturing, marketing

and sale of a diverse portfolio of flavored beverage products. The Company’s primary market

focus is the United States, but it also distributes products in Canada, Mexico, the Caribbean,

Latin America, the Pacific Rim, Asia, Europe and the Middle East. NBC was incorporated in

Delaware in 1985 and began trading as a public company on the NASDAQ Stock Market in

1991. Some of the Company’s brands include Faygo, Shasta, and LaCroix sparkling water.

       3.      NBC maintains a corporate jet, a Falcon 2000EX N1NC aircraft. The aircraft is

partly owned by and registered to Broad River Aviation, Inc. (“Broad River”).

       4.      Defendant Nick A. Caporella (“N. Caporella”) is NBC’s Chief Executive Officer

and Board Chairman. He is also the President of Broad River.

       5.      Defendant N. Caporella, who is a pilot, personally flies the Company’s jet.

       6.      Upon information and belief, Defendant N. Caporella uses the Company jet for

personal travel, at the Company’s cost. Defendant N. Caporella’s use of the Company jet for


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personal travel has not been disclosed in periodic filings with the SEC, nor have any related

party transactions with Broad River disclosed.

       7.     On May 4, 2017, the Individual Defendants caused the Company to issue a press

release touting NBC’s use of unique methods, “VPO (velocity per outlet) and VPC (velocity per

capita)” to “create[] growth never before thought possible” (VPO and VPC are collectively

referred to herein as the “Velocity Methods”). This was followed by a May 5, 2017 press release

stating, in relevant part, that the Company’s “impressive VPO calculator . . . is flashing solid

green numbers as we bring FY2017 to a close.”

       8.     On December 8, 2017, the Company issued a press release announcing its

financial and operating results for the period ended October 28, 2017. That same day, an analyst

with Maxim Group assigned NBC stock a “sell” rating.

       9.     On this news, the price per share of NBC stock dropped from a closing price of

$112.75 on December 7, 2017 to close at $100.84 per share on December 8, 2017 -- a drop of

10.6%, or $11.91.

       10.    The Company and the SEC exchanged correspondence regarding the Company’s

use of VPO and VPC metrics between January 26, 2018 and May 14, 2018. Such correspondence

was publicly filed. The SEC sought clarity on the meaning and use of the Velocity Methods by

NBC.

       11.    On March 26, 2018, the SEC filed its second letter sent to NBC, indicating that

the SEC was not satisfied with NBC’s response to the SEC’s initial letter. NBC’s initial response

declined to disclose details of how VPO and VPC are calculated. On the filing of the SEC’s

response, the price per share of NBC stock dropped from a closing price of $87.65 on March 23,




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2018, the prior trading day, to close at $85.69 per share on March 26, 2018 -- a drop of 2.2%, or

$1.96.

         12.   After markets closed on June 26, 2018, The Wall Street Journal published an

article discussing the SEC’s inquiry into NBC’s use of the Velocity Methods.

         13.   On this news, the price per share of NBC stock dropped from a closing price of

$109.94 on June 26, 2018 to close at $100.19 per share on June 27, 2018 -- a drop of 8.9%, or

$9.75.

         14.   On July 3, 2018, The Wall Street Journal ran another story on NBC, this time

discussing two lawsuits filed against NBC and Defendant N. Caporella alleging that Defendant

N. Caporella had, among other things, engaged in inappropriate touching of two pilots employed

by or through NBC to fly the Company’s jet alongside Defendant N. Caporella. The story was

picked up that day by numerous other news outlets.

         15.   On this news, the price per share of NBC stock dropped from a closing price of

$109.94 on July 3, 2018 to close at $107.04 per share on July 6, 2018 -- a drop of 2.6%, or $2.90.

         16.   During the Relevant Period, the investing public was under a false impression of

the Company’s business, operations, and financial success.

         17.   During the Relevant Period, the Defendant N. Caporella (“N. Caporella”) engaged

in inappropriate touching of, and levied verbal abuse against, at least two pilots employed as

second in command by or though NBC while flying the jet used for NBC business trips. In

addition, Defendant N. Caporella engaged in assault and battery of one such pilot, and retaliated

against him for attempting to report Defendant N. Caporella’s actions within NBC (collectively,

the “Hostile Work Environment Misconduct”).




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       18.     During the Relevant Period, the Individual Defendants caused the Company to

market LaCroix sparkling water as “all-natural,” and “100% natural” despite the beverages

containing, inter alia, ethyl butanoate, limonene, linalool and linalool propionate, which are

synthetic compounds (the “Marketing Misconduct”).

       19.     During the Relevant Period, the Individual Defendants, in breach of their

fiduciary duties owed to NBC, willfully or recklessly made and/or caused the Company to make

false and/or misleading statements. Specifically, the Individual Defendants willfully or recklessly

made and/or caused the Company to make false and/or misleading statements and/or omissions

of material fact that failed to disclose that: (1) Defendant N. Caporella engaged in the Hostile

Work Environment Misconduct; (2) NBC has paid informal “settlements,” in the form of

bonuses, to NBC employees who have been subject to harassment by Defendant N. Caporella;

(3) the Company engaged in the Marketing Misconduct; (4) the Company engaged in unreported

related party transactions with Broad River Aviation, Inc.; (5) Defendant N. Caporella receives

undisclosed compensation, including use of the Company’s jet for his personal ends; (6) the

Company’s claims about the Velocity Methods had no verifiable basis in fact; (7) the Company

failed to maintain internal controls; and (8) as a result of the foregoing, NBC’s public statements

were materially false and misleading at all relevant times.

       20.     The Individual Defendants failed to correct and/or caused the Company to fail to

correct these false and misleading statements and omissions of material fact, rendering them

personally liable to the Company for breaching their fiduciary duties.

       21.     Additionally, in breach of their fiduciary duties, the Individual Defendants

willfully or recklessly caused the Company to fail to maintain internal controls.




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       22.     The Individual Defendants’ breaches of fiduciary duty and other misconduct have

subjected the Company, its Chief Executive Officer (“CEO”) and Chairman, and its Executive

Vice President - Finance to a federal securities fraud class action lawsuit pending in the United

States District Court for the Southern District of Florida (the “Securities Class Action”), have

subjected the Company and its CEO and Chairman to two separate lawsuits in the United States

District Court for the Southern District of Florida and a lawsuit pending in the Circuit Court of

the 17th Judicial Circuit in and for Broward County, Florida asserting claims related to the

Hostile Work Environment Misconduct (the “Misconduct Actions”), 1 have subjected the

Company to a putative class action lawsuit pending in the Northern District of Illinois asserting

claims related to the Marketing Misconduct (the “Consumer Class Action”), 2 the need to

undertake internal investigations, losses from the waste of corporate assets, and losses due to the

unjust enrichment of Individual Defendants who were improperly over-compensated by the

Company, and is costing the Company millions of dollars.

       23.     The Company has been substantially damaged as a result of the Individual

Defendants’ knowing or highly reckless breaches of fiduciary duty and other misconduct.



1
  These actions are Huenefeld and Huenefeld v. National Beverage Corp. and Nicholas A.
Caporella, Docket No. 0:16-cv-62881 (S.D. Fla.), filed December 7, 2016 (the “Huenefeld
Action”); Vincent Citrullo v. National Beverage Corp, et al., Docket No. 0:17-cv-60225 (S.D.
Fla.), filed January 27, 2017 (the “Citrullo Action”); and Vincent Citrullo v. National Beverage
Corp, et al., Docket No. CACE17022093 (Fla. Cir. Ct., 17th Cir, Broward County), filed
December 6, 2017 (the “Citrullo State Action”). The Huenefeld Action was settled in January
2018 for an undisclosed sum. The Citrullo Action was refiled against Defendant N. Caporella,
NBC, and Broad River in state court after the federal complaint was dismissed on jurisdictional
grounds, resulting in the Citrullo State Action. An amended complaint was filed in the Citrullo
Action on October 23, 2017, naming only NBC and Broad River as defendants. The parties to
the Citrullo Action and Citrullo State Action reached a settlement of both actions in August 2018
involving a $99,000 payment to the plaintiff, which was approval by the United States District
Court for the Southern District of Florida on September 24, 2018.
2
  Rice v. National Beverage Corp. d/b/a LaCroix Sparkling Waters, Docket No. 1:18-cv-07151
(N.D. Ill.).


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       24.      In light of the breaches of fiduciary duty engaged in by the Individual Defendants,

most of whom are the Company’s current directors, of the directors having caused the Company

to pay Defendant N. Caporella undisclosed compensation, of the collective engagement in fraud

and misconduct by the Company’s directors, of the substantial likelihood of the directors’

liability in this derivative action and of one of the directors’ liability in the Securities Class

Action, and of their not being disinterested and/or independent directors, a majority of the Board

cannot consider a demand to commence litigation against themselves on behalf of the Company

with the requisite level of disinterestedness and independence.

                                  JURISDICTION AND VENUE

       25.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

Plaintiff’s claims raise a federal question under Section 14(a) of the Exchange Act, 15 U.S.C. §

78n(a)(1) and Rule 14a-9 of the Exchange Act, 17 C.F.R. § 240.14a-9, and raise a federal

question pertaining to the claims made in the Securities Class Action based on violations of the

Exchange Act.

       26.      This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant

to 28 U.S.C. § 1367(a).

       27.      This derivative action is not a collusive action to confer jurisdiction on a court of

the United States that it would not otherwise have.

       28.      Venue is proper in this District because NBC is incorporated in this District. In

addition, a substantial portion of the transactions and wrongs complained of herein occurred in

this District, the Defendants have conducted business in this District, and Defendants’ actions

have had an effect in this District.




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                                        PARTIES

       Plaintiff

       29.    Plaintiff is a current shareholder of NBC. Plaintiff has continuously held NBC

common stock at all relevant times.

       Nominal Defendant NBC

       30.    Nominal Defendant NBC is a Delaware corporation headquartered at 8100 SW

Tenth Street, Suite 4000, Fort Lauderdale, Florida 33324. NBC stock trades on the NASDAQ

under the ticker symbol “FIZZ.”

       31.    According to the Company’s Schedule 14A filed with the SEC on August 27,

2018 (“2018 Proxy Statement”), Defendant Nick A. Caporella beneficially owns 73.4% of the

Company’s outstanding Common Stock. As a result, the Company is a “controlled company”

within the meaning of the NASDAQ listing standards.

       Defendant N. Caporella

       32.    Defendant N. Caporella has served as the Company’s CEO and member of the

Board of Directors since NBC was founded in 1985. He is currently the Chairman of the Board

and the Chairman of both the Nominating Committee and the Strategic Planning Committee.

Defendant N. Caporella also served as the Company’s President until September 2002. Since

January 1992, Defendant N. Caporella’s services have been provided to the Company through a

management company, Corporate Management Advisors, Inc. (“CMA”), an entity owned by

Defendant N. Caporella. According to the Company’s Schedule 14A filed with the SEC on

August 28, 2017 (the “2017 Proxy Statement”), as of August 14, 2017, Defendant N. Caporella

beneficially owned 34,244,585 shares of the Company’s common stock, which represented




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73.5% of the Company’s outstanding stock as of that date.3 Given that the price per share of the

Company’s common stock at the close of trading on August 14, 2017 was $111.82, N. Caporella

owned over $3.8 billion worth of NBC stock.

       33.    The 2018 Proxy Statement asserts Defendant N. Caporella does not receive cash

compensation from NBC. Instead, his services “are provided to the Company by CMA and [his]

cash compensation is based solely on and included within the management fee paid to CMA.” In

the fiscal year ended April 28, 2018, NBC paid CMA $9,757,340.

       34.    The Company’s 2018 Proxy Statement stated the following about Defendant N.

Caporella:

       Nick A. Caporella has served as Chairman of the Board and Chief Executive
       Officer of the Company since the Company was founded in 1985. He also served
       as President until September 2002. Since January 1992, Mr. Caporella’s services
       have been provided to the Company through a management company, Corporate
       Management Advisors, Inc. (“CMA”), an entity which he owns. (See
       “Management Services Agreement – Compensation” and “Certain Relationships
       and Related Party Transactions”.) Mr. Caporella previously served as President
       and Chief Executive Officer (since 1976) and Chairman of the Board (since 1979)
       of Burnup & Sims Inc. until March 1994. Throughout his more than 50-year
       business career, he has founded or managed as the Chief Executive Officer
       successful companies and has served as a public company Chairman, Chief
       Executive Officer or President since 1976. Mr. Caporella has achieved many
       awards as a businessman, including induction into the Institute of American
       Entrepreneurs and receipt of the Horatio Alger Award. He is involved in many
       research projects which endeavor to advance the cure of children’s cancer and
       currently serves on the Professional Advisory Board of St. Jude Children’s
       Hospital. The Company was founded as a result of Mr. Caporella’s vision and
       innovation, and his extraordinary career, entrepreneurial spirit, business acumen
       and civic leadership qualify him to serve on the Board.



3
 This figure includes 33,302,246 shares owned by IBS Partners Ltd. (“IBS”), a Texas limited
partnership whose sole general partner is IBS Management Partners, Inc., a Texas corporation.
IBS Management Partners, Inc. is owned by Defendant N. Caporella. By virtue of Rule 13d-3
promulgated under the Securities Exchange Act of 1934, as amended, (the “Exchange Act”),
Defendant N. Caporella would be deemed to beneficially own the shares of Common Stock
owned by IBS. This figure also includes 27,056 shares held by the wife of Defendant N.
Caporella as to which Defendant N. Caporella disclaims beneficial ownership.


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        Defendant Bracken

        35.    Defendant George R. Bracken (“Bracken”) has served as NBC’s Executive Vice

President – Finance since July 2012. Previously, he served as Senior Vice President – Finance

from October 2000 to July 2012 and Vice President and Treasurer from October 1996 to October

2000. According to the 2017 Proxy Statement, as of August 14, 2017, Defendant Bracken

beneficially owned 147,148 shares of the Company’s common stock.4 Given that the price per

share of the Company’s common stock at the close of trading on August 14, 2017 was $111.82,

Bracken owned approximately $16.5 million worth of NBC stock.

        36.    The 2018 Proxy Statement asserts Defendant Bracken does not receive cash

compensation from NBC. Instead, his services “are provided to the Company by CMA and [his]

cash compensation is based solely on and included within the management fee paid to CMA.”

According to the 2018 Proxy Statement, Defendant Bracken received $590,400 from CMA in the

fiscal year ended April 28, 2018.

        Defendant J. Caporella

        37.    Defendant Joseph G. Caporella (“J. Caporella”) has served as President of the

Company since September 2002 and, prior to that date, served as Executive Vice President since

January 1991. He has also served as the Company’s Chief Operating Officer (“COO”) since

2014. Defendant J. Caporella is the son of Defendant N. Caporella. According to the 2017 Proxy

Statement, as of August 14, 2017, Defendant J. Caporella beneficially owned 452,240 shares of

the Company’s common stock, representing 1.0% of the Company’s outstanding stock as of that

date.5 Given that the price per share of the Company’s common stock at the close of trading on


4
  This figure includes 133,898 shares held by the George R. Bracken Trust dated February 6,
2015, a revocable trust of which Defendant Bracken is the grantor and trustee, and 13,250 shares
issuable upon exercise of currently exercisable options.



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August 14, 2017 was $111.82, J. Caporella owned approximately $50.6 million worth of NBC

stock.

          38.    For the fiscal year ended April 28, 2018, Defendant J. Caporella received

$1,446,877 in compensation from the Company. This included $775,000 in salary, $665,000 in

bonus, and $6,877 in all other compensation.

          39.    The Company’s 2018 Proxy Statement stated the following about Defendant J.

Caporella:

          Joseph G. Caporella has served as President of the Company since September
          2002 and, prior to that date, served as Executive Vice President since January
          1991. He is the son of Mr. Nick A. Caporella. Since joining the Company in 1988,
          he has been involved in all aspects of the Company’s operations, including
          procurement, supply chain management, distribution and sales leadership. Mr.
          Caporella’s more than 30 years of experience in the beverage industry coupled
          with his extensive knowledge of the day-to-day business operations of the
          Company qualify him to serve on our Board.

          Defendant Conlee

          40.    Defendant Cecil D. Conlee (“Conlee”) has served as a Company director since

2009 and is a member of the Audit Committee. He is the Chairman of the Compensation and

Stock Option Committee and a member of both the Audit Committee and Strategic Planning

Committee. According to the 2017 Proxy Statement, as of August 14, 2017, Defendant Conlee

beneficially owned 54,496 shares of the Company’s common stock.6 Given that the price per

share of the Company’s common stock at the close of trading on August 14, 2017 was $111.82,

Conlee owned approximately $6.1 million worth of NBC stock.

          41.    For the fiscal year ended April 28, 2018, Defendant Conlee received $60,900 in

compensation from the Company, in fees earned or paid in cash.



5
    This figure includes 44,640 shares issuable upon exercise of currently exercisable options.
6
    This figure includes 23,656 shares issuable upon exercise of currently exercisable options


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          42.    The Company’s 2018 Proxy Statement stated the following about Defendant

Conlee:

          Cecil D. Conlee is founder and chairman of The Conlee Company, an Atlanta,
          Georgia based investment firm. From 1990 until 2018 he served as chairman of
          CGR Advisors, a real estate investment advisory company. He served as a
          director of Oxford Industries, Inc., an international apparel design, sourcing and
          marketing company from 1985 until June 2011, and was a member of the
          Executive Committee and Chairman of the Audit Committee. He also served as a
          director of Central Parking Corp. from 1996 to 2006. Mr. Conlee has been a
          member of the Company’s Strategic Planning Committee since 1995 and was a
          lead director of Burnup & Sims Inc. for more than 20 years. As a result, he gained
          unique knowledge and experience during the formative years of the Company. In
          addition, Mr. Conlee holds an MBA from Harvard University and is a Trustee
          Emeritus of Vanderbilt University. Mr. Conlee’s education, business acumen,
          leadership skills, civic involvement and his knowledge and experience related to
          our Company qualify him to serve on our Board.

          Defendant Hathorn

          43.    Defendant Samuel C. Hathorn, Jr. (“Hathorn”) has served as a company director

since 1997, and previously served as a director from 1985 to 1993. He is the Chairman of the

Audit Committee, Deputy Chairman of both the Compensation and Stock Option Committee and

Nominating Committee, and a member of the Strategic Planning Committee. According to the

2017 Proxy Statement, as of August 14, 2017, Defendant Hathorn beneficially owned 98,006

shares of the Company’s common stock. 7 Given that the price per share of the Company’s

common stock at the close of trading on August 14, 2017 was $111.82, Hathorn owned

approximately $11 million worth of NBC stock.

          44.    For the fiscal year ended April 28, 2018, Defendant Hathorn received $75,500 in

compensation from the Company, in fees earned or paid in cash.

          45.    The Company’s 2018 Proxy Statement stated the following about Defendant

Hathorn:


7
    This figure includes 25,618 shares issuable upon exercise of currently exercisable options.


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        Samuel C. Hathorn, Jr. was employed by Trendmaker Homes, Inc. from 1981
        until his retirement in September 2007. He served as President since 1983 and
        was appointed Chief Executive Officer in January 2007. Trendmaker Homes, Inc.
        was a Houston, Texas-based homebuilding and land development subsidiary of
        Weyerhaeuser Company. Mr. Hathorn has also held senior executive and financial
        positions with several public corporations and served as a director of Burnup &
        Sims Inc. (a former affiliate of the Company) from 1981 until 1997 and of
        Hartman Commercial Properties REIT, a publicly-traded real estate investment
        trust, from 2000 to 2005. Mr. Hathorn first served on the Company’s Board of
        Directors from its inception in 1985 to September 1993 while also serving as a
        Burnup & Sims Inc. director and representative during the Company’s formative
        years. He returned to our Board in June 1997 and has served as a director since
        that time. Mr. Hathorn’s extensive expertise as a seasoned financial executive, his
        professional business acumen and his intimate knowledge of our business qualify
        him to serve on our Board.

        Defendant Sheridan

        46.    Defendant Stanley M. Sheridan (“Sheridan”) has served as the Company’s

Director since 2009. He is the Deputy Chairman of the Audit Committee, and member of both

the Compensation and Stock Option Committee and Nominating Committee. According to the

2017 Proxy Statement, as of August 14, 2017, Defendant Sheridan beneficially owned 44,008

shares of the Company’s common stock. 8 Given that the price per share of the Company’s

common stock at the close of trading on August 14, 2017 was $111.82, Sheridan owned over

$4.9 million worth of NBC stock.

        47.    For the fiscal year ended April 28, 2018, Defendant Sheridan received $61,500 in

compensation from the Company, in fees earned or paid in cash.

        48.    The Company’s 2018 Proxy Statement stated the following about Defendant

Sheridan:

        Stanley M. Sheridan was employed by Faygo Beverages, Inc., a wholly-owned
        subsidiary of National Beverage Corp., from 1974 until his retirement in 2004. He
        joined Faygo Beverages, Inc. as Chief Financial Officer in 1974 and was

8
 This figure includes 32,704 shares held by Stanley M. Sheridan Living Trust dated April 10,
1995 of which Defendant Sheridan is trustee and principal beneficiary and 11,304 shares issuable
upon exercise of currently exercisable options.


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       promoted to President in May 1987 when Faygo Beverages, Inc. was acquired by
       National Beverage Corp. He holds an MBA in Accounting and has served on the
       boards of various private companies and charitable organizations. Mr. Sheridan’s
       retirement in 2004 and his absence from Faygo Beverages, Inc. qualify him as an
       independent director for the Company. Mr. Sheridan’s more than 30 years of
       experience in the beverage industry and his professional management expertise as
       a chief executive in the soft drink industry make him extremely familiar with our
       business. These qualifications and his financial and accounting expertise qualify
       him to serve on our Board.

               FIDUCIARY DUTIES OF THE INDIVIDUAL DEFENDANTS

       49.     By reason of their positions as officers and/or directors of NBC and because of

their ability to control the business and corporate affairs of NBC, the Individual Defendants

owed NBC and its shareholders fiduciary obligations of trust, loyalty, good faith, and due care,

and were and are required to use their utmost ability to control and manage NBC in a fair, just,

honest, and equitable manner. The Individual Defendants were and are required to act in

furtherance of the best interests of NBC and its shareholders so as to benefit all shareholders

equally.

       50.     Each director and officer of the Company owes to NBC and its shareholders the

fiduciary duty to exercise good faith and diligence in the administration of the Company and in

the use and preservation of its property and assets and the highest obligations of fair dealing.

       51.     The Individual Defendants, because of their positions of control and authority as

directors and/or officers of NBC, were able to and did, directly and/or indirectly, exercise control

over the wrongful acts complained of herein.

       52.     To discharge their duties, the officers and directors of NBC were required to

exercise reasonable and prudent supervision over the management, policies, controls, and

operations of the Company.

       53.     Each Individual Defendant, by virtue of his or her position as a director and/or

officer owed to the Company and to its shareholders the highest fiduciary duties of loyalty, good


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faith, and the exercise of due care and diligence in the management and administration of the

affairs of the Company, as well as in the use and preservation of its property and assets. The

conduct of the Individual Defendants complained of herein involves a knowing and culpable

violation of their obligations as directors and/or officers of NBC, the absence of good faith on

their part, or a reckless disregard for their duties to the Company and its shareholders that the

Individual Defendants were aware or should have been aware posed a risk of serious injury to the

Company. The conduct of the Individual Defendants who were also officers and/or directors of

the Company has been ratified by the remaining Individual Defendants who collectively

comprised NBC’s Board at all relevant times.

       54.     As senior executive officers and/or directors of a publicly-traded company whose

common stock was registered with the SEC pursuant to the Exchange Act and traded on the

NASDAQ, the Individual Defendants had a duty not to effect the dissemination of inaccurate and

untruthful information with respect to the Company’s financial condition, performance, growth,

operations, financial statements, business, products, management, earnings, internal controls, and

present and future business prospects, including the dissemination of false information regarding

the Company’s business, prospects, and operations, and had a duty to cause the Company to

disclose in its regulatory filings with the SEC all those facts described in this Complaint that it

failed to disclose, so that the market price of the Company’s common stock would be based upon

truthful and accurate information. Moreover, the Company’s directors had a duty not to cause the

Company to waste corporate assets by paying themselves excessive compensation and benefits

and engaging in the Hostile Work Environment Misconduct.

       55.     To discharge their duties, the officers and directors of NBC were required to

exercise reasonable and prudent supervision over the management, policies, practices, and




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internal controls of the Company. By virtue of such duties, the officers and directors of NBC

were required to, among other things:

               (a)    ensure that the Company was operated in a diligent, honest, and prudent

manner in accordance with the laws and regulations of Delaware, Florida, and the United States,

and pursuant to NBC’s own Code of Ethics;

               (b)    conduct the affairs of the Company in an efficient, business-like manner

so as to make it possible to provide the highest quality performance of its business, to avoid

wasting the Company’s assets, and to maximize the value of the Company’s stock;

               (c)    remain informed as to how NBC conducted its operations, and, upon

receipt of notice or information of imprudent or unsound conditions or practices, to make

reasonable inquiry in connection therewith, and to take steps to correct such conditions or

practices;

               (d)    establish and maintain systematic and accurate records and reports of the

business and internal affairs of NBC and procedures for the reporting of the business and internal

affairs to the Board and to periodically investigate, or cause independent investigation to be

made of, said reports and records;

               (e)    maintain and implement an adequate and functioning system of internal

legal, financial, and management controls, such that NBC’s operations would comply with all

applicable laws and NBC’s financial statements and regulatory filings filed with the SEC and

disseminated to the public and the Company’s shareholders would be accurate;

               (f)    exercise reasonable control and supervision over the public statements

made by the Company’s officers and employees and any other reports or information that the

Company was required by law to disseminate;




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               (g)     refrain from unduly benefiting themselves and other Company insiders at

the expense of the Company; and

               (h)     examine and evaluate any reports of examinations, audits, or other

financial information concerning the financial affairs of the Company and to make full and

accurate disclosure of all material facts concerning, inter alia, each of the subjects and duties set

forth above.

       56.     Each of the Individual Defendants further owed to NBC and the shareholders the

duty of loyalty requiring that each favor NBC’s interest and that of its shareholders over their

own while conducting the affairs of the Company and refrain from using their position, influence

or knowledge of the affairs of the Company to gain personal advantage.

       57.     At all times relevant hereto, the Individual Defendants were the agents of each

other and of NBC and were at all times acting within the course and scope of such agency.

       58.     Because of their advisory, executive, managerial, and directorial positions with

NBC, each of the Individual Defendants had access to adverse, non-public information about the

Company.

       59.     The Individual Defendants, because of their positions of control and authority,

were able to and did, directly or indirectly, exercise control over the wrongful acts complained of

herein, as well as the contents of the various public statements issued by NBC.

        CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

       60.     In committing the wrongful acts alleged herein, the Individual Defendants have

pursued, or joined in the pursuit of, a common course of conduct, and have acted in concert with

and conspired with one another in furtherance of their wrongdoing. The Individual Defendants

caused the Company to conceal the true facts as alleged herein, and the Company’s directors

caused the Company to waste corporate assets by paying Defendant N. Caporella undisclosed


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compensation and benefits and engaging in or permitting the Hostile Work Environment

Misconduct, resulting in litigation and settlement costs. The Individual Defendants further aided

and abetted and/or assisted each other in breaching their respective duties.

       61.     The purpose and effect of the conspiracy, common enterprise, and/or common

course of conduct was, among other things, to: (i) facilitate and disguise the Individual

Defendants’ violations of law, including breaches of fiduciary duty, unjust enrichment, waste of

corporate assets, and violations of Section 14(a) of the Exchange Act; (ii) conceal adverse

information concerning the Company’s operations, financial condition, legal compliance, future

business prospects and internal controls; (iii) engage in the Hostile Work Environment

Misconduct; (iv) artificially inflate the Company’s stock price; and (v) waste the Company’s

corporate assets by paying Defendant N. Caporella undisclosed compensation and engaging in or

permitting the Hostile Work Environment Misconduct, thereby incurring litigation and

settlement costs.

       62.     The Individual Defendants accomplished their conspiracy, common enterprise,

and/or common course of conduct by causing the Company purposefully or recklessly to conceal

material facts, fail to correct such misrepresentations, and violate applicable laws. The Individual

Defendants serving as directors also caused the Company to waste corporate assets by paying

Defendant N. Caporella undisclosed compensation and benefits and engaging in or permitting

the Hostile Work Environment Misconduct which led to litigation and settlement costs, including

in the Huenefeld Action, Citrullo Action, and Citrullo State Action. In furtherance of this plan,

conspiracy, and course of conduct, the Individual Defendants collectively and individually took

the actions set forth herein. Because the actions described herein occurred under the authority of

the Board, each of the Individual Defendants who is a director of NBC was a direct, necessary,




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and substantial participant in the conspiracy, common enterprise, and/or common course of

conduct complained of herein.

       63.     Each of the Individual Defendants aided and abetted and rendered substantial

assistance in the wrongs complained of herein. In taking such actions to substantially assist the

commission of the wrongdoing complained of herein, each of the Individual Defendants acted

with actual or constructive knowledge of the primary wrongdoing, either took direct part in, or

substantially assisted in the accomplishment of that wrongdoing, and was or should have been

aware of his or her overall contribution to and furtherance of the wrongdoing.

       64.     At all times relevant hereto, each of the Individual Defendants was the agent of

each of the other Individual Defendants and of NBC, and was at all times acting within the

course and scope of such agency.

                                   NBC’S CODE OF ETHICS

       65.     The Company’s Code of Ethics (the “Code of Ethics”), last revised August 2016,

provides that “[t]he highest standards of ethical and business conduct are required of all

Company employees at all times.”

       66.     Although the term employee is not defined within the Code of Ethics, the Code of

Ethics covers officers and directors, as evidenced in a section titled, “Waivers and

Accountability,” which provides, in relevant part:

       Any changes to this policy and any waivers of this policy for or on behalf of any
       director, executive officer, or senior financial officer of the Company must be
       approved by the Company’s board, or by a committee of the board, to which
       authority to issue such waivers has been delegated by the board.

(Emphasis added.)

       67.     The Company’s Code of Ethics provides that the “[r]esponsibilities of all NBC

employees” includes to “[t]ake action against illegal, improper or unethical behavior.”



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       68.     The Code of Ethics provides that conflicts of interest situations include, among

other things, “[p]lacement of business with a firm owned or controlled by an employee or his

family.”

       69.     The Code of Ethics provides, in a section titled “Complete and Accurate Financial

Records and Communications,” that, among other things, “[n]o false or artificial statements or

entries may be made for any purpose in the books and records of the Corporation or in any

internal or external correspondence, memorandums, or communication of any type, including

telephone or wire communications.”

       70.     That section continues, providing, in relevant part, that:

       The management of the Company is primarily responsible for the integrity of
       financial information and for ensuring that all disclosures in reports filed with
       SEC and other public communications are full, fair, accurate, and timely and
       that such disclosures are not misstated due to fraud or error.

       Each officer or other employee with access to, or responsibility for, accounting or
       financial information relating to the Company shall promptly bring to the
       attention of the office of the General Counsel any information he or she may have
       concerning the following: (i) significant deficiencies in the design or operation of
       internal controls that could adversely affect the Company’s ability to record,
       process, summarize, and report financial data accurately; or (ii) any fraud,
       whether or not material, that involves management or other employees who have
       a significant role in the Company’s financial reporting, disclosures, or internal
       controls.

(Emphasis added.)

       71.     The Code of Ethics provides, in a section titled “Preservation of Assets and Cost

Consciousness,” in relevant part, that:

       NBC’s policies provide for reimbursement of reasonable expenses incurred by
       employees who travel on authorized business or to Corporation-sponsored events.
       Economies of travel should be practiced at all times in the selection of air carriers,
       vehicle rentals, accommodations and expenditures for meals. First class air fare or
       lavish hotels, cars, etc. are not permissible.




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        Employees shall not use Company property and services for their personal
        benefit unless use of such Company property and services has been properly
        approved for general employee or public use. The use of Company-owned land,
        materials, vehicles, equipment, etc., under any other circumstances, must be
        properly approved in advance. Company property must not be sold, loaned, given
        away or otherwise disposed of - regardless of condition or value - without proper
        authorization.

(Emphasis added).

        72.    The Code of Ethics provides, in a section titled “Positive Work Environment,”

that:

        The Company has an anti-harassment policy committed to providing a positive
        work environment for all of its employees. Any type of harassment, whether of a
        racial, sexual, ethnic, or other nature, is absolutely prohibited. The Company
        actively enforces its policy against harassment and employees are encouraged to
        review that policy in detail. The policy applies to all conduct on the Company’s
        premises and to all conduct off the Company’s premises that affects an
        employee’s work environment. It applies not only to relationships with and
        conduct toward other employees; it also applies to how employees conduct
        themselves with respect to representatives of suppliers, customers, and others
        with whom the Company has business relations. The Company considers
        violation of the policy to be a serious offense that will lead to discipline, up to and
        including discharge.

        Harassment comes in many forms and may be physical, verbal, mental, or
        emotional. Generally, it is any conduct directed toward another person that,
        when viewed by a reasonable person, would or could be perceived as
        objectionable. Harassment includes creating a hostile work environment or
        permitting one to exist.

        An employee will not suffer adverse employment consequences from making or
        taking part in the investigation of a good faith complaint concerning harassment.
        Any form of retaliation, including, but not limited to, derogatory comments, is
        strictly against Company policy.

(Emphasis added.)

        73.    With regard to reporting violations, the Code of Ethics provides, in relevant part,

that:

        When you are uncertain about any situation, ask for guidance. If you believe there
        may have been a violation of the policy, you should discuss the matter with your
        manager or supervisor. If you are not comfortable doing that or believe that


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        doing so would not be effective, you should report your concerns to the office of
        the General Counsel. The General Counsel will investigate all reports received
        and take appropriate action. If a violation of this policy has occurred, the
        Company will take such disciplinary action, including dismissal, as it deems
        appropriate. . . . The Company forbids retaliation against employees who report
        violations of this policy in good faith.

(Emphasis added.)

        74.      The Code of Ethics provides, with respect to “Compliance and Discipline,” in

relevant part, that:

        Failure to comply with the standards contained in this Code will result in
        disciplinary action that may include probation, termination, referral for criminal
        prosecution, and/or reimbursement to NBC for any losses or damages resulting
        from the violation.

                                                ***
        Disciplinary action will be taken:

              • Against employees who authorize or participate directly or indirectly in
              actions which are a violation of this Code.

              • Against any employee who may have deliberately failed to report a violation
              or deliberately withheld relevant and material information concerning a
              violation of this Code.

              • Against the violator’s managerial superiors, to the extent that the
              circumstances of the violation reflect improper management supervision.

              • Against any supervisor who retaliates, directly or indirectly, or encourages
              others to do so, against an employee who reports a violation of this Code.

(Emphasis added.)

        75.      In violation of the Code of Ethics, the Individual Defendants conducted little, if

any, oversight of the Company’s engagement in the Individual Defendants’ scheme to issue

materially false and misleading statements to the public and to facilitate and disguise the

Individual Defendants’ violations of law, including breaches of fiduciary duty, unjust

enrichment, waste of corporate assets, and violations of Section 14(a) of the Exchange Act.




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Moreover, in violation of the Code of Ethics, the Individual Defendants engaged in or permitted

the Hostile Work Environment Misconduct, failed to maintain the accuracy of Company records

and reports, comply with laws and regulations, conduct business in an honest and ethical manner,

properly report violations of the Code of Ethics, and engaged in retaliation against individuals

for reporting violations of the Code of Ethics.

                          NBC’S AUDIT COMMITTEE CHARTER

        76.    The Company’s Audit Committee Charter provides that the responsibilities of the

Audit Committee include, inter alia:

        • Review and discuss earnings press releases, as well as financial information (the
        chair of the Committee may represent the Committee for purposes of this review);

        • Reviewing the reports of the independent auditors to assess the adequacy of the
        Company’s system of internal control;

        • Obtaining from the independent accountants and internal auditors their
        recommendations regarding internal controls and other matters relating to the
        accounting procedures and the books and records of the Company and its
        subsidiaries and reviewing the correction of controls deemed to be deficient;

        • Providing an independent, direct communication between the Board, internal
        auditors and independent accountants;

        • Reviewing with appropriate Company personnel the actions to ensure
        compliance with the Company’s Code of conduct 9 and the results of
        confirmations and violations of such Code . . .

        77.    In contravention of their duties as members of the Audit Committee, Defendants

Sheridan, Hathorn, and Conlee failed to effectively review the effectiveness of the Company’s

internal controls, ensure compliance with the Company’s Code of Ethics, and allowed the

Company to operate with inadequate internal controls.


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  Upon information and belief, the Audit Committee Charter, which was last updated April 2007,
is referring to the Code of Ethics. In support of this contention, Plaintiff points to the fact that
there is no reference to a Code of Conduct on the Company’s website or in the Company’s
periodic reports or proxy statements filed in the past year.


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                      INDIVIDUAL DEFENDANTS’ MISCONDUCT

       Background

       78.     NBC is a beverage developer, manufacturer, and distributor primarily focused on

flavored soft drinks. Some of the Company’s brands are Faygo, Shasta, Rip It energy drinks,

Everfresh juice, and LaCroix sparkling water.

       79.     Defendant N. Caporella not only serves as the Company’s CEO and Chairman,

but also pilots the Company jet, a Falcon 2000EX N1NC aircraft (the “Falcon 2000”).

       80.     The Falcon 2000 is partly owned by and registered to Broad River Aviation, Inc.

(“Broad River”).

       81.     Broad River is incorporated in North Carolina. Public records indicate that

Defendant N. Caporella is the President of Broad River, and Defendant Bracken is its Vice

President.

       82.     Upon information and belief, Defendant N. Caporella uses the Falcon 2000 for

personal travel, at NBC’s cost. However, this travel benefit is not disclosed in the Company’s

periodic filings with the SEC.

       The Hostile Work Environment Misconduct

       83.     The Company hires trained pilots to fly alongside Defendant N. Caporella as his

second-in-command (“SIC”).

       84.     The plaintiffs in the Misconduct Actions (the “Victim Pilots”) were employed by

or through NBC. The plaintiff in the Huenefeld Action alleges that he was paid by NBC,

received NBC employee materials, and was issued an NBC health care card for himself and his

family. The plaintiff in the Citrullo Action alleges that he was jointly employed by NBC and

Broad River, and NBC had complete control over his hours and responsibilities.




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       85.     The Victim Pilots flew with Defendant N. Caporella on flights taken for the

purpose of Company business and for Defendant N. Caporella’s private business. According to

the complaint in the Huenefeld Action, trips taken for Defendant N. Caporella’s personal benefit

were funded by NBC.

       86.     The Victim Pilots have filed lawsuits against Defendant N. Caporella and NBC,

claiming, among other things, that Defendant Caporella touched them in an inappropriate and

sexually suggestive manner while serving as Defendant N. Caporella’s SIC between 2014 and

2016. This touching included Defendant N. Caporella placing his hand on each man’s inner

thigh, and moving it upward toward the genitals in a sexually suggestive manner.

       87.     In addition to such sexually suggestive touching, both Victim Pilots allege that

Defendant N. Caporella engaged in a pattern of verbally abusive behavior against them.

       88.     According to the complaint filed in the Huenefeld Action, Defendant N. Caporella

subjected one of the Victim Pilots to assault and battery following one flight, leading the pilot to

seek medical treatment and report the incident to the Traverse City, Michigan police department.

       89.     According to the complaint filed in the Huenefeld Action, Defendant N. Caporella

has committed assault and battery against other NBC employees in the past, and those employees

were paid bonuses in connection with those incidents.

       90.     According to both Misconduct Actions, violations of the Code of Ethics,

including the Hostile Workplace Misconduct, were reported to Vince Caporella, a son of

Defendant N. Caporella. These reports were ignored or downplayed.

       91.     The complaint in the Huenefeld Action alleges that Huenefeld was retaliated

against for reporting the Hostile Work Environment Misconduct through reduction in salary and,

ultimately, termination.




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         92.   The Huenefeld Action was settled in January 2018 for an undisclosed sum.

         93.   The parties to the Citrullo Action and Citrullo State Action have reached a

settlement pertaining to both actions, under which NBC and Broad River admitted no liability

and Broad River is to pay $99,000 to the plaintiff. The settlement was approved by the United

States District Court for the Southern District of Florida on September 24, 2018

         The Marketing Misconduct

         94.   The Individual Defendants caused the Company to market LaCroix sparkling

water as “all-natural,” and “100% natural.” Contrary to these representations, LaCroix sparkling

waters contain synthetic compounds, including, inter alia, ethyl butanoate, limonene, linalool

and linalool propionate.

         False and Misleading Statements

         2013-2014 10-K

         95.   On July 17, 2014, the Company filed an annual report with the SEC for the fiscal

year and quarter ended May 3, 2014 on Form 10-K (the “2013-2014 10-K”) providing the

Company’s financial results and position. The 2013-2014 10-K was signed by Defendants N.

Caporella, Bracken, J. Caporella, Conlee, Hathorn, and Sheridan. The 2013-2014 10-K reported

net revenue of $641.1 million, net income of $43.6 million, and diluted earnings per share of

$0.92.

         96.   Regarding LaCroix, the 2013-2014 10-K stated, in relevant part, “100% all

natural LaCroix® Sparkling Water is setting the pace in the Sparkling Water segment that is fast

becoming the alternative to traditional carbonated soda.”

         97.   The 2013-2014 10-K noted that the Company’s Code of Ethics is available on its

website. As noted above, the Code of Ethics prohibits, among other things, workplace




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harassment. Upon information and belief, such prohibitions were in the Code of Ethics when the

2013-2014 10-K was filed.

       98.    Individual Defendants caused the Company to assert in the 2013-2014 10-K that

NBC’s internal control over financial reporting was effective. The 2013-2014 10-K stated:

       Our management is responsible for establishing and maintaining adequate internal
       control over financial reporting, as such term is defined in Rule 13a-15(f) of the
       Exchange Act. Under the supervision and with the participation of our
       management, including our Chief Executive Officer and Principal Financial
       Officer, we conducted an evaluation of the effectiveness of our internal control
       over
       financial reporting based on the framework in Internal Control – Integrated
       Framework issued by the Committee of Sponsoring Organizations of the
       Treadway Commission in 1992. Based on that evaluation, our management
       concluded that our internal control over financial reporting was effective as of
       May 3, 2014.

       99.    As to the Company’s disclosure controls and procedures, the 2013-2014 10-K

provided:

       As of the end of the period covered by this Annual Report on Form 10-K, we
       carried out an evaluation, under the supervision and with the participation of the
       Company’s management, including our Chief Executive Officer and Principal
       Financial Officer, of the effectiveness of the design and operation of our
       “disclosure controls and procedures” (as defined in Rule 13a-15(e) of the
       Securities Exchange Act of 1934, as amended (the “Exchange Act”)). Based upon
       that evaluation, the Chief Executive Officer and Principal Financial Officer
       concluded that our disclosure controls and procedures were effective to ensure
       information required to be disclosed by us in reports we file or submit under the
       Exchange Act is (1) recorded, processed, summarized and reported within the
       time periods specified in SEC rules and forms and (2) accumulated and
       communicated to our management, including our Chief Executive Officer and
       Principal Financial Officer, to allow timely decisions regarding required
       disclosure.

       100.   Attached to the 2013-2014 10-K were certifications pursuant to Rule 13a-14(a)

and 15d-14(a) under the Exchange Act and the Sarbanes-Oxley Act of 2002 (“SOX”) signed by

Defendants N. Caporella and Bracken attesting to the accuracy of the 2013-2014 10-K.

       2014-2015 10-K

       101.   On July 16, 2015, the Company filed an annual report with the SEC for the fiscal

year and quarter ended May 2, 2015 on Form 10-K (the “2014-2015 10-K”) providing the


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Company’s financial results and position. The 2014-2015 10-K was signed by Defendants N.

Caporella, Bracken, J. Caporella, Conlee, Hathorn, and Sheridan. The 2014-2015 10-K reported

net revenue of $645.8 million, net income of $49.3 million, and diluted earnings per share of

$1.05.

         102.   Regarding LaCroix, the 2013-2014 10-K stated, in relevant part, “100% all

natural LaCroix® Sparkling Water is setting the pace in the Sparkling Water segment that is fast

becoming the alternative to traditional carbonated soda.”

         103.   The 2014-2015 10-K noted that the Company’s Code of Ethics is available on its

website. As noted above, the Code of Ethics prohibits, among other things, workplace

harassment. Upon information and belief, such prohibitions were in the Code of Ethics when the

2014-2015 10-K was filed.

         104.   Individual Defendants caused the Company to assert in the 2014-2015 10-K that

NBC’s internal control over financial reporting was effective. The 2014-2015 10-K stated:

         Our management is responsible for establishing and maintaining adequate internal
         control over financial reporting, as such term is defined in Rule 13a-15(f) of the
         Exchange Act. Under the supervision and with the participation of our
         management, including our Chief Executive Officer and Principal Financial
         Officer, we conducted an evaluation of the effectiveness of our internal control
         over financial reporting based on the framework in Internal Control – Integrated
         Framework issued by the Committee of Sponsoring Organizations of the
         Treadway Commission in 2013. Based on that evaluation, our management
         concluded that our internal control over financial reporting was effective as of
         May 2, 2015.

         105.   As to the Company’s disclosure controls and procedures, the 2014-2015 10-K

provided:

         As of the end of the period covered by this Annual Report on Form 10-K, we
         carried out an evaluation, under the supervision and with the participation of the
         Company’s management, including our Chief Executive Officer and Principal
         Financial Officer, of the effectiveness of the design and operation of our
         “disclosure controls and procedures” (as defined in Rule 13a-15(e) of the
         Securities Exchange Act of 1934, as amended (the “Exchange Act”)). Based upon
         that evaluation, the Chief Executive Officer and Principal Financial Officer
         concluded that our disclosure controls and procedures were effective to ensure


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         information required to be disclosed by us in reports we file or submit under the
         Exchange Act is (1) recorded, processed, summarized and reported within the
         time periods specified in SEC rules and forms and (2) accumulated and
         communicated to our management, including our Chief Executive Officer and
         Principal Financial Officer, to allow timely decisions regarding required
         disclosure.

         106.   Attached to the 2014-2015 10-K were certifications pursuant to Rule 13a-14(a)

and 15d-14(a) under the Exchange Act and the Sarbanes-Oxley Act of 2002 (“SOX”) signed by

Defendants N. Caporella and Bracken attesting to the accuracy of the 2014-2015 10-K.

         2015-2016 10-K

         107.   On July 14, 2016, the Company filed an annual report with the SEC for the fiscal

year and quarter ended May 3, 2016 on Form 10-K (the “2015-2016 10-K”) providing the

Company’s financial results and position. The 2015-2016 10-K was signed by Defendants N.

Caporella, Bracken, J. Caporella, Conlee, Hathorn, and Sheridan. The 2015-2016 10-K reported

net revenue of $704.8 million, net income of $61.2 million, and diluted earnings per share of

$1.31.

         108.   Regarding LaCroix, the 2015-2016 10-K stated, in relevant part:

         100% all natural LaCroix® Sparkling Water, our strategically largest and
         fastest-growing brand, has set the pace in the Sparkling Water category that is
         rapidly becoming the alternative to traditional carbonated soda.
         With zero calories, zero sweeteners and zero sodium, the innocence of LaCroix
         has propelled it to the top-selling all natural domestic sparkling water. LaCroix
         has the support of national chains in multiple channels, including mass merchants,
         mainstream supermarkets and natural and specialty food retailers and has a
         flourishing social media presence. Flavored with natural fruit essence, LaCroix
         has expanded its core line with five new offerings - Coconut, Mango, Apricot,
         Passionfruit and Tangerine.

(Emphasis added.)

         109.   The 2015-2016 10-K noted that the Company’s Code of Ethics is available on its

website. As noted above, the Code of Ethics prohibits, among other things, workplace

harassment. Upon information and belief, such prohibitions were in the Code of Ethics when the

2015-2016 10-K was filed.


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       110.    Individual Defendants caused the Company to assert in the 2015-2016 10-K that

NBC’s internal control over financial reporting was effective. The 2015-2016 10-K stated:

       Our management is responsible for establishing and maintaining adequate internal
       control over financial reporting, as such term is defined in Rule 13a-15(f) of the
       Exchange Act. Under the supervision and with the participation of our
       management, including our Chief Executive Officer and Principal Financial
       Officer, we conducted an evaluation of the effectiveness of our internal control
       over financial reporting based on the framework in Internal Control – Integrated
       Framework issued by the Committee of Sponsoring Organizations of the
       Treadway Commission in 2013. Based on that evaluation, our management
       concluded that our internal control over financial reporting was effective as of
       April 30, 2016.

                                              ***
       There were no changes in our internal control over financial reporting during the
       quarter ended April 30, 2016 that have materially affected, or are reasonably
       likely to materially affect, our internal control over financial reporting.

       111.    As to the Company’s disclosure controls and procedures, the 2015-2016 10-K

provided:

       As of the end of the period covered by this Annual Report on Form 10-K, we
       carried out an evaluation, under the supervision and with the participation of the
       Company’s management, including our Chief Executive Officer and Principal
       Financial Officer, of the effectiveness of the design and operation of our
       “disclosure controls and procedures” (as defined in Rule 13a-15(e) of the
       Securities Exchange Act of 1934, as amended (the “Exchange Act”)). Based upon
       that evaluation, the Chief Executive Officer and Principal Financial Officer
       concluded that our disclosure controls and procedures were effective to ensure
       information required to be disclosed by us in reports we file or submit under the
       Exchange Act is (1) recorded, processed, summarized and reported within the
       time periods specified in SEC rules and forms and (2) accumulated and
       communicated to our management, including our Chief Executive Officer and
       Principal Financial Officer, to allow timely decisions regarding required
       disclosure.

       112.    Attached to the 2015-2016 10-K were certifications pursuant to Rule 13a-14(a)

and 15d-14(a) under the Exchange Act and the Sarbanes-Oxley Act of 2002 (“SOX”) signed by

Defendants N. Caporella and Bracken attesting to the accuracy of the 2015-2016 10-K.

       May 2017 Press Releases

       113.    On May 4, 2017, the Company issued a press release refuting a report published

that morning by Maxim Group. The press release stated, in relevant part, that:


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         VPO – VPC Dynamics
         National Beverage employs methods that no other company does in this area –
         VPO (velocity per outlet) and VPC (velocity per capita). We utilize two
         proprietary techniques to magnify these measures and this creates growth never
         before thought possible. Unique to National Beverage is creating velocity per
         capita through proven velocity predictors. Retailers are amazed by these methods
         and find before and after changes so dynamic that they demand we afford them
         the use of these methods as frequently as possible.

(Underlined subheading in original. Bold & italic emphasis added.)

         114.    The following day, May 5, 2017, NBC issued a second press release that

included a letter to shareholders written by Defendant N. Caporella. Defendant N. Caporella

referenced the VPO calculator, stating, in relevant part: “Our impressive VPO calculator that was

reflected on the cover of our fiscal year 2015 Proxy is flashing solid green numbers as we bring

FY2017 to a close.”

         2016-2017 10-K

         115.   On July 13, 2017, the Company filed an annual report with the SEC for the fiscal

year and quarter ended April 29, 2017 on Form 10-K (the “2016-2017 10-K”) providing the

Company’s financial results and position. The 2016-2017 10-K was signed by Defendants N.

Caporella, Bracken, J. Caporella, Conlee, Hathorn, and Sheridan. The 2016-2017 10-K reported

net revenue of $826.9 million, net income of $107 million, and diluted earnings per share of

$2.29.

         116.   Regarding LaCroix, the 2016-2017 10-K stated, in relevant part:

         100% naturally-essenced LaCroix® Sparkling Water, our largest and fastest-
         growing brand, has set the pace in the Sparkling Water category that is rapidly
         becoming       the       alternative    to      traditional   carbonated     soda.
         With zero calories, zero sweeteners and zero sodium, the innocence of LaCroix
         has propelled it to the top-selling all natural domestic sparkling water. Flavored
         with natural fruit essence, LaCroix has the support of national chains in multiple
         channels, including mass merchants, mainstream supermarkets and natural and
         specialty food retailers and has a burgeoning social media presence.

(Emphasis added.)



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       117.   The 2016-2017 10-K noted that the Company’s Code of Ethics is available on its

website. As noted above, the Code of Ethics prohibits, among other things, workplace

harassment.

       118.   Individual Defendants caused the Company to assert in the 2016-2017 10-K that

NBC’s internal control over financial reporting was effective. The 2016-2017 10-K stated:

       Our management is responsible for establishing and maintaining adequate internal
       control over financial reporting, as such term is defined in Rule 13a-15(f) of the
       Exchange Act. Under the supervision and with the participation of our
       management, including our Chief Executive Officer and Principal Financial
       Officer, we conducted an evaluation of the effectiveness of our internal control
       over
       financial reporting based on the framework in Internal Control – Integrated
       Framework issued by the Committee of Sponsoring Organizations of the
       Treadway Commission in 2013. Based on that evaluation, our management
       concluded that our internal control over financial reporting was effective as of
       April 29, 2017.

                                             ***

       There were no changes in our internal control over financial reporting during the
       quarter ended April 29, 2017 that have materially affected, or are reasonably
       likely to materially affect, our internal control over financial reporting.

       119.   As to the Company’s disclosure controls and procedures, the 2016-2017 10-K

provided:

       As of the end of the period covered by this Annual Report on Form 10-K, we
       carried out an evaluation, under the supervision and with the participation of the
       Company’s management, including our Chief Executive Officer and Principal
       Financial Officer, of the effectiveness of the design and operation of our
       “disclosure controls and procedures” (as defined in Rule 13a-15(e) of the
       Securities Exchange Act of 1934, as amended (the “Exchange Act”)). Based upon
       that evaluation, the Chief Executive Officer and Principal Financial Officer
       concluded that our disclosure controls and procedures were effective to ensure
       information required to be disclosed by us in reports we file or submit under the
       Exchange Act is (1) recorded, processed, summarized and reported within the
       time periods specified in SEC rules and forms and (2) accumulated and
       communicated to our management, including our Chief Executive Officer and
       Principal Financial Officer, to allow timely decisions regarding required
       disclosure.




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        120.      Attached to the 2016-2017 10-K were certifications pursuant to Rule 13a-14(a)

and 15d-14(a) under the Exchange Act and the Sarbanes-Oxley Act of 2002 (“SOX”) signed by

Defendants N. Caporella and Bracken attesting to the accuracy of the 2016-2017 10-K.

        121.      The statements referenced in ¶¶ 95-120 above were materially false and

misleading because the Individual Defendants made and/or caused the Company to make false

and misleading statements that failed to disclose material adverse facts about NBC’s business,

operations and compliance policies. Specifically, those statements failed to disclose that: (1)

Defendant N. Caporella engaged in the Hostile Work Environment Misconduct; (2) NBC has

paid informal “settlements,” in the form of bonuses, to NBC employees who have been subject

to harassment by Defendant N. Caporella; (3) the Company engaged in the Marketing

Misconduct; (4) the Company engaged in unreported related party transactions with Broad River

Aviation, Inc.; (5) Defendant N. Caporella receives undisclosed compensation, including use of

the Company’s jet for his personal ends; (6) the Company’s claims about the Velocity Methods

had no verifiable basis in fact; (7) the Company failed to maintain internal controls; and (8) as a

result of the foregoing, NBC’s public statements were materially false and misleading at all

relevant times.

        The Truth Begins to Emerge

        122.      On December 7, 2017, NBC issued a press release titled “National Beverage

Corp. Growth Accelerates on Track for Billion Dollar Revenues $504 Million – First 6 Months.”

The press release provided the Company’s operating results for first half of the 2017-2018 fiscal

year.




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          123.   On December 8, 2017, Anthony Vendetti of Maxim Group gave NBC shares a

sell rating, as a result of, among other things, “numerous weak brands and opaque financial

reporting.”

          124.   On this news, the price per share of NBC stock dropped from a closing price of

$112.75 on December 7, 2017 to close at $100.84 per share on December 8, 2017 -- a drop of

10.6%, or $11.91.

          125.   The SEC filed a letter addressed to NBC’s Vice President, Controller, and Chief

Accounting Officer, Gregory P. Cook (“Cook”) on January 26, 2018. In the letter, the SEC

requested information regarding NBC’s May 2017 press releases, particularity the Company’s

statements regarding the Velocity Methods, VPO and VPC. The letter stated, in relevant part:

          You state that you “magnify these measures and this creates growth never before
          thought possible.” You also state that you are “creating velocity per capita
          through proven velocity predictors.” To the extent that VPO and VPC are key
          performance indicators used in managing your business, please include a
          discussion of these measures along with comparative period amounts or explain
          why you do not believe this disclosure is necessary. Refer to Section III.B.1 of
          SEC Release No. 33-8350.

          126.   NBC filed a response letter on February 23, 2018. Signed by Cook, the letter

contained the following response:

          Our Chairman & CEO wrote the following in his press release dated May 4, 2017:

          “VPO – VPC Dynamics

          National Beverage employs methods that no other company does in this area –
          VPO (velocity per outlet) and VPC (velocity per capita). We utilize two
          proprietary techniques to magnify these measures and this creates growth never
          before thought possible. Unique to National Beverage is creating velocity per
          capita through proven velocity predictors. Retailers are amazed by these methods
          and find before and after changes so dynamic that they demand we afford them
          the use of these methods as frequently as possible.”10

           This statement characterizes the entrepreneurial spirit of National Beverage and
          its Chairman. The metrics that Mr. Caporella referenced are used to establish
          goals for certain customers, but are not utilized to manage the overall executional
          side of our business. Furthermore, we do not believe our comments relative to
10
     Emphasis in original unless otherwise noted throughout.


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       VPO/VPC dynamics require explanation as they are proprietary methods that
       are part of a consumer engagement program called “BrandED”. Through this
       educational program that allows us direct contact with our consumers, we learn
       about frequency of purchase, consumption, household management and other
       pertinent facts at various locations and time of purchase. This information is as
       secretive as the formulas of our beverages and should not be disclosed to our
       competition.

       VPO and VPC therefore are not key performance indicators that would give
       readers a view of the Company through the “eyes of management” as that term is
       used in SEC Release No. 33-8350.

(Italic and underlined emphasis in original. Bold and italic emphasis added.)

       127.    The SEC responded with another letter, dated March 23, 2018, which was filed on

March 26, 2018. The SEC’s letter stated, in pertinent part:

       We note your response that the VPO and VPC metrics are not used to manage the
       execution side of your business and are not key performance indicators. However,
       we note the statement that you “utilize” two proprietary techniques to magnify
       these measures, which “creates growth never before thought possible.” We also
       note the statement in your press release furnished May 8, 2017 that an
       “impressive VPO calculator that was reflected on the cover of our fiscal year
       2015 Proxy is flashing solid green numbers as we bring FY2017 to a close.”
       Please provide an expanded response that explains the VPO and VPC metrics and
       reconciles the statements above with the statement that VPO and VPC are not
       utilized to manage your business and are not key performance indicators.

       128.    On the filing of the SEC’s response, the price per share of NBC stock dropped

from a closing price of $87.65 on the prior trading day, March 23, 2018, to close at $85.69 per

share on March 26, 2018 -- a drop of 2.2%, or $1.96.

       129.    NBC filed a letter on April 25, 2018, dated April 24, 2018, in response to the

SEC’s March 23, 2018 letter. Signed by Cook, the letter contained the following response:

       VPO (Velocity per Outlet) is calculated by dividing the number of units sold by a
       given customer during a specified time period by the number of outlets stocking
       the product. VPC (Velocity per Capita) is calculated by dividing the number of
       units sold in a given geographic area by the population of the area.

       VPO metrics are used to establish goals for certain customers, identify poor
       performing stores, and, when combined with proprietary customer survey data,
       utilized to give customers better insight into their consumers. Such data is
       collected only for certain customers and cannot practically be used to establish



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           goals or targets for the Company as a whole, nor can VPO data be applied to
           every customer. As a result, such metrics are used primarily for brand planning
           and execution for specific customers.

           The Company uses VPC data primarily to quantify the average number of
           beverages by category that people consume each year in the United States. VPC
           highlights the opportunity for growth by comparing per capita consumption of
           sparkling water in the United States to that of other developed markets. As such,
           VPC data is often incorporated in customer sales presentations.

            Although VPO and VPC are components in marketing and evaluating
           performance by customer, the data underlying these metrics is proprietary, and we
           believe the results of this use and the performance of our brands justify the use of
           the descriptions included in our press releases. This data, as compiled and used by
           our marketing section, would not give readers a view of the Company through the
           “eyes of management” as that term is used in SEC Release No. 33-8350.

           130.   After markets closed on May 14, 2018, the SEC filed a letter addressed to Cook,

stating:

           We have completed our review of your filing. We remind you that the company
           and its management are responsible for the accuracy and adequacy of their
           disclosures, notwithstanding any review, comments, action or absence of action
           by the staff.

           131.   After markets closed on June 26, 2018, The Wall Street Journal published an

article regarding the correspondence between NBC and the SEC, titled “The SEC Has Had Its

Own Questions About LaCroix.” The article began by reporting:

           LaCroix maker National Beverage Corp. is known for issuing colorful news
           releases peppered with exclamation points, outsize boasts and attacks on critics.

           Two of those releases recently caught the attention of the Securities and Exchange
           Commission, which in January asked the flavored seltzer company to clarify what
           its billionaire chairman and chief executive, Nick Caporella, meant when he wrote
           that the company had “magnified” two proprietary sales metrics to create “growth
           never before thought possible.”

           In the first of the two releases, dated May 4, 2017, Mr. Caporella wrote: “National
           Beverage employs methods that no other company does in this area – VPO
           (velocity per outlet) and VPC (velocity per capita)… Unique to National
           Beverage is creating velocity per capita through proven velocity predictors.
           Retailers are amazed by these methods.”




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         The following day, a release described a VPO calculator “flashing solid green
         numbers as we bring FY2017 to close.”

         132.   The article continued, discussing the correspondence between the SEC and NBC:

         The SEC asked the Fort Lauderdale, Fla.-based company to provide “a
         discussion of these measures along with comparative amounts or explain why
         you do not believe this disclosure is necessary,” according to securities filings.

         In correspondence with the agency disclosed in those filings, National Beverage
         declined to provide the requested figures.

         “This information is as secretive as the formulas of our beverages and should not
         be disclosed to our competition,” Gregory Cook, the company’s controller, wrote
         in a response to the SEC. The metrics are used to set goals for certain customers
         and not for the company as a whole, he added. The agency said in May that it had
         completed its review of the matter.

(Emphasis added.)

         133.   On this news, the price per share of NBC stock dropped from a closing price of

$109.94 on June 26, 2018 to close at $100.19 per share on June 27, 2018 -- a drop of 8.9%, or

$9.75.

         134.   On July 3, 3018, The Wall street Journal published another article on NBC, this

time detailing the Hostile Work Environment Misconduct. That article, titled “Billionaire Behind

LaCroix Accused of Improper Touching by Two Pilots,” stated, in relevant part:

         Two pilots have filed lawsuits alleging sexual harassment by the billionaire
         behind LaCroix sparkling water, claiming 82-year-old Nick A. Caporella
         inappropriately touched them on multiple trips while they were flying with him
         in the cockpit of his business jet.

         The allegations by the former employees, both men, were made in lawsuits filed
         in the past two years in Florida and name both the chief executive and National
         Beverage Corp. [] as defendants. Mr. Caporella is the chairman, chief executive
         and controlling shareholder of National Beverage, which has a market value of $5
         billion, thanks to surging LaCroix sales.

         Mr. Caporella, a rare CEO who also pilots the corporate jet, and the company
         have denied the allegations in court documents. The suits claim the unwanted
         touching occurred on more than 30 trips from 2014 to 2016.

(Emphasis added.)


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       135.      Regarding the Company’s reaction and airplane in question, the article stated, in

relevant part:

       “There is no truth to any of the allegations and nothing remotely akin to the
       alleged events occurred,” the company said in a news release after The Wall
       Street Journal article was published online. Samuel Hathorn, chairman of
       National Beverage’s audit committee, added that “the board is aware of the
       allegations and knows them to be untrue, based on our knowledge of Mr.
       Caporella and the investigation that was conducted.”

       The business jet, a twin-engine Falcon 2000EX, flew regularly during the
       period in question from National Beverage’s home city of Fort Lauderdale,
       Fla., to destinations including Portsmouth, N.H., Oakland, Calif., and Los
       Cabos, Mexico, according to federal flight records. The travel matches the dates
       of trips alleged in the two suits.

(Emphasis added.)

       136.      Regarding the Huenefeld Action, the article stated, in relevant part:

       One lawsuit was filed by pilot Terence Huenefeld and his wife. Mr. Huenefeld,
       who spent about five months working for Mr. Caporella, accused the CEO of
       unwanted touching on 18 flights between March and July 2016, according to
       court documents.

       The lawsuit alleged Mr. Caporella engaged in “repeated unjustified, unwarranted
       and uninvited grabbing, rubbing and groping of Terry’s leg in a sexual manner,
       reaching up towards Terry’s sexual organs.”

       137.      Regarding the Citrullo Action, the article stated, in relevant part:

       The second pilot, Vincent Citrullo, alleged in his lawsuit a similar pattern of
       behavior during more than a year flying alongside Mr. Caporella. The lawsuit
       claims that on 14 flights from March 2014 to July 2015, Mr. Caporella engaged in
       unwanted touching, including grabbing Mr. Citrullo under his armpit, under his
       thigh and moving his right hand up Mr. Citrullo’s left leg towards his genitals.

       Reached by phone Tuesday, Mr. Citrullo said he stands by his allegations “100%.
       It was definitely inappropriate.”

       138.      Numerous other news outlets also picked up the story on July 3, 2018, including

Business Insider, Vox, and Fortune.




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        139.    On this news, the price per share of NBC stock dropped from a closing price of

$109.94 on July 3, 2018 to close at $107.04 per share on July 6, 2018 -- a drop of 2.6%, or $2.90.

        False and Misleading Statements Continue

        NBC’s Denials of the Hostile Work Environment Misconduct

        140.    After The Wall Street Journal’s July 3, 2018 article was published online, the

Individual Defendants caused NBC to issue a press release that very day denying the Hostile

Work Environment Misconduct. The press release stated, in relevant part:

        National Beverage Corp. and Nick Caporella completely and unequivocally deny
        the allegations recited in today’s Wall Street Journal.

        “There is no truth to any of the allegations and nothing remotely akin to the
        alleged events occurred,” the Company stated. “The allegations, which were
        lifted from employment-related lawsuits filed by two former associates, are
        contrary to the statements of many others who have known and flown with Mr.
        Caporella for decades. The Journal reporter chose to recklessly disregard
        documentary evidence that refuted the allegations that were the subject of the
        report.”

        Samuel Hathorn, chairman of the Company’s Audit Committee, stated, “The
        Board is aware of the allegations and knows them to be untrue, based on our
        knowledge of Mr. Caporella and the investigation that was conducted.”

(Emphasis added.)

        141.    On July 5, 2018, the Individual Defendants caused the Company to issue a second

press release refuting the July 3, 2018 article in The Wall Street Journal. That press release

stated, in relevant part:

        The Board of Directors has authorized management to retain defamation counsel
        to advise the Company on its legal options with regard to the July 3, 2018 article
        published by the Wall Street Journal and will notice the Journal’s counsel about
        this false and misleading “report” immediately.

        As set forth in our July 3 press release, National Beverage believes that the article
        improperly portrays unsubstantiated allegations that were contained in
        employment-related lawsuits as facts, and disregarded documents and other
        evidence which clearly refute the allegations. This biased and sensationalized



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       “reporting”, which was reposted by numerous other media organizations, has the
       potential to cause economic and reputational harm.

                                               ***

       Board Member Cecil D. Conlee stated “I have known Nick for over 40 years
       and I find these allegations to be incredulous.”

(Emphasis added.)

       2018 Proxy Statement

       142.    On August 27, 2018, the Company filed the 2018 Proxy Statement. Defendants N.

Caporella, J. Caporella, Conlee, Hathorn, and Sheridan solicited the 2018 Proxy Statement filed

pursuant to Section 14(a) of the Exchange Act, which contained material misstatements and

omissions.11

       143.    Regarding compensation received by Defendant Caporella, the 2018 Proxy

Statement provided, in relevant part:

        CMA, pursuant to a management agreement, provides the services of and
       compensates the Company’s Chief Executive Officer, Chief Financial Officer and
       senior and other corporate personnel who provide management, administrative
       and creative functions to the Company. Although management fees paid to CMA
       have been disclosed in “Certain Relationships and Related Party Transactions”
       since the inception of the management agreement in 1992, during 2009, the
       Commission requested that we modify the presentation of amounts paid to Mr.
       Nick A. Caporella and Mr. Bracken. In a comment letter dated February 9, 2009,
       the Commission staff requested that, due to Mr. Caporella’s 100% ownership of
       CMA, the entire management fee paid to CMA be reflected as compensation to
       Mr. Caporella in the body of the Summary Compensation Table. As a result, we
       agreed (for reporting purposes) to include the management fee paid by the
       Company to CMA under the caption “All Other Compensation” with respect to
       Mr. Nick A. Caporella in the Summary Compensation Table. We believe this
       method of reporting is misleading and could lead the reader to construe that
       these amounts are paid by the Company or CMA directly to Mr. Nick A.

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   Plaintiff’s allegations with respect to the misleading statements in the 2018 Proxy Statement
are based solely on negligence; they are not based on any allegation of reckless or knowing
conduct by or on behalf of the Individual Defendants, and they do not allege, and do not sound
in, fraud. Plaintiff specifically disclaims any allegations of, reliance upon any allegation of, or
reference to any allegation of fraud, scienter, or recklessness with regard to these allegations and
related claims.


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       Caporella. The amounts paid by the Company to CMA, as reflected in the
       Summary Compensation Table, should not be interpreted as the actual
       amount of compensation paid to Mr. Nick A. Caporella by either the
       Company or CMA and are shown only to comply with the comment letter
       dated February 9, 2009. The cash compensation of Mr. Bracken, who serves as
       Principal Financial Officer of National Beverage Corp., is also paid by CMA and
       is included under the “All Other Compensation” caption in the Summary
       Compensation Table. (See “Certain Relationships and Related Party
       Transactions”.)

       144.   Thus, the 2018 Proxy Statement failed to disclose compensation received by

Defendant N. Caporella in the form of use of the Falcon 2000 jet for personal travel at the

Company’s expense, in contravention of the Code of Ethics.

       145.   With respect to the Company’s “Certain Relationships and Related Party

Transactions,” the 2018 Proxy Statement disclosed:

       The Company is a party to a management agreement with CMA, a corporation
       owned by our Chairman and Chief Executive Officer. This agreement was
       originated in 1991 for the efficient use of management of two public companies at
       the time. In 1994, one of those public entities, through a merger, no longer was
       managed in this manner.

       Under the terms of the management agreement, CMA provides, subject to the
       direction and supervision of the Board of Directors of the Company, (i) senior
       corporate functions (including supervision of the Company’s financial, legal,
       executive recruitment, internal audit and management information systems
       departments) as well as the services of a Chief Executive Officer and Chief
       Financial Officer, and (ii) services in connection with acquisitions, dispositions
       and financings by the Company, including identifying and profiling acquisition
       candidates, negotiating and structuring potential transactions and arranging
       financing for any such transaction. CMA, through its personnel, also provides, to
       the extent possible, the stimulus and creativity to develop an innovative and
       dynamic persona for the Company, its products and corporate image. In order to
       fulfill its obligations under the management agreement, CMA employs numerous
       individuals, who, acting as a unit, provide management, administrative and
       creative functions for the Company. In connection with providing services under
       the management agreement, CMA is a twenty percent (20%) joint owner of an
       aircraft used by the Company. The management agreement provides that the
       Company will pay CMA an annual base fee equal to one percent of the
       consolidated net sales of the Company, and further provides that the
       Compensation and Stock Option Committee and the Board of Directors may from
       time to time award additional incentive compensation to CMA. The Board of
       Directors on numerous occasions contemplated incentive compensation and,


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       while shareholder value increased to over $4.8 billion (or 11,000%) since the
       inception of this agreement, no incentive compensation has been paid. We
       incurred management fees to CMA of $9.8 million for Fiscal 2018, $8.3 million
       for Fiscal 2017, and $7.0 million for Fiscal 2016. The Company does not have
       written policies and procedures with respect to related party transactions, but the
       Company’s practice has been that the services and performance of CMA are
       reviewed annually by the independent members of the Compensation and Stock
       Option Committee and the Board of Directors. During the course of such reviews,
       the independent directors on the Compensation and Stock Option Committee
       have, on numerous occasions, proposed that CMA be paid an incentive due to
       superior performance based on various criteria, including the favorable outcome
       of specific negotiations and the performance of the Company’s Common Stock.
       During the April 20, 2018 Board meeting, the Chairman of the Compensation
       Committee initiated a broad discussion concerning expediting an incentive plan
       for CMA, especially considering the Company’s exceptional performance over
       the past several years. However, no incentive compensation has been accepted by
       CMA and, as noted above, none has been paid since the inception of the
       management agreement.

(Emphasis added.)

       146.    Thus, despite the ostensibly ongoing nature of the Company’s relationship with

Broad River, whose President and Vice President and Defendants N. Caporella and Bracken,

respectively, the 2018 Proxy Statement failed to disclose any related party transactions with, or

the existence of, Broad River.

       147.    The Individual Defendants also caused the 2018 Proxy Statement to be false and

misleading with regard to executive compensation in that they purported to employ “pay-for-

performance” elements while failing to disclose that the Company’s financial prospects were

misrepresented as a result of false and misleading statements, causing the Company’s share price

to be artificially inflated and allowing the Individual Defendants to wrongfully benefit from the

fraud alleged herein.

       148.    Further, the 2018 Proxy Statement failed to disclose that: (1) Defendant N.

Caporella engaged in the Hostile Work Environment Misconduct; (2) NBC has paid informal

“settlements,” in the form of bonuses, to NBC employees who have been subject to harassment



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by Defendant N. Caporella; (3) the Company engaged in the Marketing Misconduct; (4) the

Company engaged in unreported related party transactions with Broad River Aviation, Inc.; (5)

Defendant N. Caporella receives undisclosed compensation, including use of the Company’s jet

for his personal ends; (6) the Company’s claims about the Velocity Methods had no verifiable

basis in fact; (7) the Company failed to maintain internal controls; and (8) as a result of the

foregoing, NBC’s public statements were materially false and misleading at all relevant times.

         2017-2018 10-K

         149.   On July 27, 2017, the Company filed an annual report with the SEC for the fiscal

year and quarter ended April 28, 2018 on Form 10-Q (the “2017-2018 10-K”) providing the

Company’s financial results and position. The 2017-2018 10-K was signed by Defendants N.

Caporella, Bracken, J. Caporella, Conlee, Hathorn, and Sheridan. The 2017-2018 10-K reported

net revenue of $975.7 million, net income of $149.8 million, and diluted earnings per share of

$3.19.

         150.   The 2017-2018 10-K noted that the Company’s Code of Ethics is available on its

website. As noted above, the Code of Ethics prohibits, among other things, workplace

harassment.

         151.   Regarding LaCroix sparkling water, the 2017-2018 10-K stated, in relevant part:

         100% naturally-essenced LaCroix® Sparkling Water, our most significant and
         dominant brand, has uniquely redefined the Sparkling Water category that is
         rapidly becoming the alternative to traditional carbonated soda. With zero
         calories, zero sweeteners and zero sodium, the innocence of LaCroix has
         propelled it to the top-selling domestic sparkling water. Naturally essenced,
         LaCroix has gained the support of national retailers in multiple channels,
         including mass merchants, mainstream supermarkets and natural and specialty
         food retailers.

(Italics in original. Bold & italic emphasis added.)

         152.   Individual Defendants caused the Company to assert in the 2017-2018 10-K that

NBC’s internal control over financial reporting was effective. The 2017-2018 10-K stated:


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       Our management is responsible for establishing and maintaining adequate internal
       control over financial reporting, as such term is defined in Rule 13a-15(f) of the
       Exchange Act. Under the supervision and with the participation of our
       management, including our Chief Executive Officer and Principal Financial
       Officer, we conducted an evaluation of the effectiveness of our internal control
       over financial reporting based on the framework in Internal Control – Integrated
       Framework issued by the Committee of Sponsoring Organizations of the
       Treadway Commission in 2013. Based on that evaluation, our management
       concluded that our internal control over financial reporting was effective as of
       April 28, 2018.

                                             ***

       There were no changes in our internal control over financial reporting during the
       quarter ended April 28, 2018 that have materially affected, or are reasonably
       likely to materially affect, our internal control over financial reporting.

       153.   As to the Company’s disclosure controls and procedures, the 2017-2018 10-K

provided:

       As of the end of the period covered by this Annual Report on Form 10-K, we
       carried out an evaluation, under the supervision and with the participation of the
       Company’s management, including our Chief Executive Officer and Principal
       Financial Officer, of the effectiveness of the design and operation of our
       “disclosure controls and procedures” (as defined in Rule 13a-15(e) of the
       Securities Exchange Act of 1934, as amended (the “Exchange Act”)). Based upon
       that evaluation, the Chief Executive Officer and Principal Financial Officer
       concluded that our disclosure controls and procedures were effective to ensure
       information required to be disclosed by us in reports we file or submit under the
       Exchange Act is (1) recorded, processed, summarized and reported within the
       time periods specified in SEC rules and forms and (2) accumulated and
       communicated to our management, including our Chief Executive Officer and
       Principal Financial Officer, to allow timely decisions regarding required
       disclosure.

       154.   Attached to the 2017-2018 10-K were certifications pursuant to Rule 13a-14(a)

and 15d-14(a) under the Exchange Act and the Sarbanes-Oxley Act of 2002 (“SOX”) signed by

Defendants N. Caporella and Bracken attesting to the accuracy of the 2017-2018 10-K.

       155.   The statements referenced in ¶¶ 140, 141, and 149-154 above were materially

false and misleading because the Individual Defendants made and/or caused the Company to

make false and misleading statements that failed to disclose material adverse facts about NBC’s

business, operational and compliance policies. Specifically, those statements failed to disclose

that: (1) Defendant N. Caporella engaged in the Hostile Work Environment Misconduct; (2)


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NBC has paid informal “settlements,” in the form of bonuses, to NBC employees who have been

subject to harassment by Defendant N. Caporella; (3) the Company engaged in the Marketing

Misconduct; (4) the Company engaged in unreported related party transactions with Broad River

Aviation, Inc.; (5) Defendant N. Caporella receives undisclosed compensation, including use of

the Company’s jet for his personal ends; (6) the Company’s claims about the Velocity Methods

had no verifiable basis in fact; (7) the Company failed to maintain internal controls; and (8) as a

result of the foregoing, NBC’s public statements were materially false and misleading at all

relevant times.

       156.       In breach of their fiduciary duties, the Individual Defendants willfully or

recklessly caused or permitted the Company to make the false and misleading statements and

omissions of material fact to the investing public as set forth above.

       157.       Moreover, the Individual Defendants breached their fiduciary duties by willfully

or recklessly failing to correct and causing the Company to fail to correct the false and

misleading statements and omissions of material fact referenced herein.

       158.       In further breach of their fiduciary duties, the Individual Defendants willfully or

recklessly failed to maintain internal controls.

                                        DAMAGES TO NBC

       159.       As a direct and proximate result of the Individual Defendants’ conduct, NBC has

lost and will continue to lose and expend many millions of dollars.

       160.       Such expenditures include, but are not limited to, legal fees associated with the

Securities Class Action filed against the Company, its CEO, and its Executive Vice President –

Finance, and any internal investigations, and amounts paid to outside lawyers, accountants, and

investigators in connection thereto.




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       161.    Such expenditures include, but are not limited to, legal fees and settlement

amounts associated with the Misconduct Actions filed against the Company and its CEO, and

any internal investigations, and amounts paid to outside lawyers, accountants, and investigators

in connection thereto.

       162.    Such expenditures include, but are not limited to, legal fees and settlement

amounts associated with the Consumer Class Action filed against the Company, and any internal

investigations, and amounts paid to outside lawyers, accountants, and investigators in connection

thereto.

       163.    Additionally, these expenditures include, but are not limited to, lavish

compensation and benefits paid to the Individual Defendants who breached their fiduciary duties

to the Company. Such benefits include expending Company funds on Defendant N. Caporella’s

private trips on the Falcon 2000 jet, while the Individual Defendants caused the Company to fail

to disclose that such trips were part of the compensation received by Defendant N. Caporella.

       164.    Such expenditures included, but are not limited to, “bonuses” paid to employees

of NBC after such employees suffered harassment from Defendant N. Caporella.

       165.    As a direct and proximate result of the Individual Defendants’ conduct, NBC has

also suffered and will continue to suffer a loss of reputation and goodwill, and a “liar’s discount”

that will plague the Company’s stock in the future due to the Company’s and their

misrepresentations and the Individual Defendants’ breaches of fiduciary duties and unjust

enrichment.

                                DERIVATIVE ALLEGATIONS

       166.    Plaintiff brings this action derivatively and for the benefit of NBC to redress

injuries suffered, and to be suffered, as a result of the Individual Defendants’ breaches of their




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fiduciary duties as directors and/or officers of NBC, unjust enrichment, waste of corporate assets,

violations of Section 14(a) of the Exchange Act, as well as the aiding and abetting thereof.

        167.    NBC is named solely as a nominal party in this action. This is not a collusive

action to confer jurisdiction on this Court that it would not otherwise have.

        168.    Plaintiff is, and has been at all relevant times, a shareholder of NBC. Plaintiff will

adequately and fairly represent the interests of NBC in enforcing and prosecuting its rights, and,

to that end, has retained competent counsel, experienced in derivative litigation, to enforce and

prosecute this action.

                             DEMAND FUTILITY ALLEGATIONS

        169.    Plaintiff incorporates by reference and re-alleges each and every allegation stated

above as if fully set forth herein.

        170.    A pre-suit demand on the Board of NBC is futile and, therefore, excused. At the

time of filing of this action, the Board consists of the following five directors: Defendants N.

Caporella, J. Caporella, Conlee, Hathorn, and Sheridan (the “Directors”). Plaintiff needs only to

allege demand futility as to three of the five directors who are on the Board at the time this action

is commenced.

        171.    Demand is excused as to all of the Directors because each one of them faces,

individually and collectively, a substantial likelihood of liability as a result of the scheme they

engaged in knowingly or recklessly to make and/or cause the Company to engage in the Hostile

Work Environment Misconduct and to make false and misleading statements and omissions of

material facts, which renders them unable to impartially investigate the charges and decide

whether to pursue action against themselves and the other perpetrators of the scheme.




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       172.    In complete abdication of their fiduciary duties, the Directors either knowingly or

recklessly engaged in or permitted the Hostile Work Environment Misconduct, and participated

in making and/or causing the Company to make the materially false and misleading statements

alleged herein. The fraudulent scheme was intended to make the Company appear more

profitable and attractive to investors. As a result of the foregoing, the Directors breached their

fiduciary duties, face a substantial likelihood of liability, are not disinterested, and demand upon

them is futile, and thus excused.

       173.    Additional reasons that demand on Defendant N. Caporella is futile follow.

Defendant N. Caporella is the Company’s CEO and Chairman, and is thus, as the Company

acknowledges, a non-independent director. Indeed, he receives many millions of dollars in

compensation from the Company annually. The amount set forth with respect to Defendant N.

Caporella under the caption “All Other Compensation” represents the total management fees

paid to CMA. For the fiscal year ended April 28, 2018, CMA received $9,757,340 in

management fees from the Company. Without further disclosure from the Company and

considering Defendant N. Caporella’s 100% ownership of CMA, it is not unreasonable to

assume that Defendant N. Caporella received a large portion of these management fees. As CEO

and Company Chairman, Defendant N. Caporella conducted little, if any, oversight of the

Company’s scheme to make false and misleading statements, engaged in the Hostile Work

Environment Misconduct, awarded himself undisclosed travel perquisites, consciously

disregarded his duties to monitor such controls over reporting and engagement in the scheme,

and consciously disregarded his duties to protect corporate assets. As a 73.4% controlling

shareholder, Defendant N. Caporella was ultimately responsible for all of the wrongful conduct

described herein, including the Hostile Work Environment Misconduct (which he personally




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engaged in), the Company’s engagement in undisclosed transactions, the Company’s operations

and internal controls, and all of the false and misleading statements and omissions that were

made, including those contained in the Company’s SEC filings, all of which he signed. He also

solicited the 2018 Proxy Statement, which contained material misrepresentations and omissions,

as alleged above. Moreover, Defendant N. Caporella is a defendant in the Securities Class Action

and is or was a defendant in each of the Misconduct Actions. Indeed, Defendant N. Caporella’s

own actions gave rise to the Misconduct Actions. Defendant N. Caporella conducted little, if any,

oversight of the Company’s internal controls over public reporting of financial statements and of

the Company’s engagement in the schemes described herein, consciously disregarded his duties

to monitor such controls over reporting and engagement in the schemes, and consciously

disregarded his duties to protect corporate assets. Thus, for these reasons, too, Defendant N.

Caporella breached his fiduciary duties, faces a substantial likelihood of liability, is not

independent or disinterested, and thus demand upon him is futile and, therefore, excused.

       174.   Additional reasons that demand on Defendant J. Caporella is futile follow.

Defendant J. Caporella is a long-time Company director and has served as President of the

Company since September 2002 and COO since 2014. Thus, as the Company admits, he is a

non-independent director. He receives handsome compensation, including $1,445,887 in the

fiscal year ended April 28, 2018. As President, COO, and a long time Company director, he

conducted little, if any, oversight of the Company’s engagement in the scheme to make false and

misleading statements, engage in the Hostile Work Environment Misconduct, and provide

Defendant N. Caporella undisclosed travel perquisites, consciously disregarded his duties to

monitor such controls over reporting and engagement in the scheme, and consciously

disregarded his duties to protect corporate assets. Defendant J. Caporella is also the son of




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Defendant N. Caporella, and thus cannot disinterestedly consider a demand to take action against

himself and the other Directors as he his beholden to his father, who is named as a defendant in

the Securities Class Action and is or was a defendant in each of the Misconduct Actions.

Moreover, Defendant J. Caporella signed or personally made many of the false statements and

omissions of material fact that are alleged herein, including in the 2013-2014 10-K, 2014-2015

10-K, 2015-2016 10-K, and 2016-2017 10-K, all of which he signed. He also solicited the 2018

Proxy Statement, which contained material misrepresentations and omissions, as alleged above.

Thus, for these reasons, Defendant J. Caporella breached his fiduciary duties, faces a substantial

likelihood of liability, is not independent or disinterested, and thus demand upon him is futile

and, therefore, excused.

       175.    Additional reasons that demand on Defendant Hathorn is futile follow. Defendant

Hathorn has served as a Company director since 1997 and is the Chair of the Audit Committee

and Deputy Chair of the Compensation and Stock Option Committee. As a long-time Company

director, Chair of the Audit Committee, and Deputy Chair of the Compensation and Stock

Option Committee, he conducted little, if any, oversight of the Company’s engagement in the

scheme to make false and misleading statements, engage in the Hostile Work Environment

Misconduct, and provide Defendant N. Caporella undisclosed travel perquisites, consciously

disregarded his duties to monitor such controls over reporting and engagement in the scheme,

and consciously disregarded his duties to protect corporate assets. Moreover, Defendant Hathorn

also was the maker of many of the false statements and omissions of material fact that are

alleged herein, including in the 2013-2014 10-K, 2014-2015 10-K, 2015-2016 10-K, and 2016-

2017 10-K, all of which he signed. He also solicited the 2018 Proxy Statement, which contained

material misrepresentations and omissions, as alleged above. Thus, for these reasons, Defendant




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Hathorn breached his fiduciary duties, faces a substantial likelihood of liability, is not

independent or disinterested, and thus demand upon him is futile and, therefore, excused.

       176.   Additional reasons that demand on Defendant Sheridan is futile follow. Defendant

Sheridan has served as a Company director since 2009 and is the Deputy Chair of the Audit

Committee and a member of the Compensation and Stock Option Committee. As a long-time

Company director, Deputy Chair of the Audit Committee, and member of the Compensation and

Stock Option Committee, he conducted little, if any, oversight of the Company’s engagement in

the scheme to make false and misleading statements, engage in the Hostile Work Environment

Misconduct, and provide Defendant N. Caporella undisclosed travel perquisites, consciously

disregarded his duties to monitor such controls over reporting and engagement in the scheme,

and consciously disregarded his duties to protect corporate assets. Moreover, Defendant Sheridan

also was the maker of many of the false statements and omissions of material fact that are

alleged herein, including in the 2013-2014 10-K, 2014-2015 10-K, 2015-2016 10-K, and 2016-

2017 10-K, all of which he signed. He also solicited the 2018 Proxy Statement, which contained

material misrepresentations and omissions, as alleged above. Thus, for these reasons, Defendant

Sheridan breached his fiduciary duties, faces a substantial likelihood of liability, is not

independent or disinterested, and thus demand upon him is futile and, therefore, excused.

       177.   Additional reasons that demand on Defendant Conlee is futile follow. Defendant

Conlee has served as a Company director since 2009 and is a member of the Audit Committee

and Chair of the Compensation and Stock Option Committee. As a long-time Company director,

member of the Audit Committee, and Chair of the Compensation and Stock Option Committee,

he conducted little, if any, oversight of the Company’s engagement in the scheme to make false

and misleading statements, engage in the Hostile Work Environment Misconduct, and provide




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Defendant N. Caporella undisclosed travel perquisites, consciously disregarded his duties to

monitor such controls over reporting and engagement in the scheme, and consciously

disregarded his duties to protect corporate assets. Moreover, Defendant Conlee also was the

maker of many of the false statements and omissions of material fact that are alleged herein,

including in the 2013-2014 10-K, 2014-2015 10-K, 2015-2016 10-K, and 2016-2017 10-K, all of

which he signed. He also solicited the 2018 Proxy Statement, which contained material

misrepresentations and omissions, as alleged above. Thus, for these reasons, Defendant Conlee

breached his fiduciary duties, faces a substantial likelihood of liability, is not independent or

disinterested, and thus demand upon him is futile and, therefore, excused.

       178.    Additional reasons that demand on the Board is futile follow.

       179.    Demand in this case is excused because the Directors are beholden to and

controlled by Defendant N. Caporella, who controls the Company by virtue of his share

ownership, which provided him with approximately 73.4% of the Company’s outstanding shares

as of August 13, 2018. These shareholdings provide Defendant N. Caporella with significant

control over the continued employment of the remaining Directors, especially Defendant J.

Caporella, who is both a well-compensated executive of NBC and Defendant N. Caporella’s son.

Indeed, as revealed in the Huenefeld Action and in an action filed by former long-time associate

of Defendant N. Caporella, David Mursten, Defendant N. Caporella removes those who he

perceives to be acting against him without hesitation. 12 Defendants Conlee, Hathorn, and

Sheridan are also beholden to Defendant N. Caporella because of the compensation they receive

as Directors, including through stock options and awards.13 Thus, the Directors are unable to



12
  Mursten v. Caporella, Docket No. 0:12-cv-62474 (S.D. Fla.), filed December 12, 2012.
13
  In addition to share based awards under the Company’s 1991 Omnibus Incentive Plan, officers
and directors of NBC are awarded share based compensation under NBC’s Key Employee


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evaluate a demand with disinterest or independence as a result of Defendant N. Caporella’s

control over them, his substantial likelihood of liability in the Securities Class Action and of all

of the Directors in the present action, and therefore, demand is excused.

       180.    All of the Directors benefitted directly from the wrongdoing alleged herein, as the

false and misleading statements caused the Company’s stock price to be artificially inflated, thus

increasing the value of NBC stock and stock options held by the Directors.

       181.    The Board’s unwillingness to impartially consider a demand related to the Hostile

Work Environment Misconduct is revealed by the Company’s July 5, 2018 press release,

wherein the Company revealed that: “[t]he Board of Directors has authorized management to

retain defamation counsel to advise the Company on its legal options with regard to the July 3,

2018 article published by the Wall Street Journal and will notice the Journal’s counsel about this

false and misleading ‘report’ immediately.” Thus, all of the Directors have demonstrated an

unwillingness to impartially evaluate the Hostile Work Environment Misconduct, and therefore,

demand is excused as to all of the Directors.

       182.    The Directors have longstanding business and personal relationships with each

other and the Individual Defendants that preclude them from acting independently and in the best

interests of the Company and the shareholders. These conflicts of interest precluded the Directors




Equity Partnership Program (the “KEEP Program”). As stated in the 2018 Proxy Statement,
under the KEEP Program:

       Participants who purchase shares of Common Stock in the open market receive
       grants of stock options equal to 50% of the number of shares purchased up to a
       maximum of 6,000 shares purchased in any two-year period. Options under the
       KEEP Program are automatically forfeited upon the sale of shares originally
       acquired by the participant. The options are granted at an initial exercise price of
       60% of the purchase price paid for the shares acquired and reduce to the par value
       of Common Stock at the end of the six-year vesting period.


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from adequately monitoring the Company’s operations and internal controls and calling into

question the Individual Defendants’ conduct. Thus, demand upon the Directors would be futile.

       183.   Defendants N. Caporella, Conlee, and Hathorn have personal and professional

connections dating back decades through Burnup & Sims Inc. (“Burnup”), a former affiliate of

NBC. Defendant N. Caporella was Burnup’s CEO and President for from 1976 to 1994, and

Chairman of the Board from 1979 to 1994. Defendant Hathorn served as a director of Burnup

from 1981 to 1997. Defendant Conlee was a director of Burnup for more than twenty years.

Upon information and belief, Defendants N. Caporella, Conlee, and Hathorn have developed

personal and professional connections over the past several decades that prevent them from

evaluating a demand with independence, especially in light of the substantial likelihood of

liability that Defendant N. Caporella faces in the Securities Class Action. Therefore, demand is

excused as to Defendants N. Caporella, Conlee, and Hathorn.

       184.   Further, Defendant Sheridan was employed by Faygo Beverages, Inc. (“Faygo”)

from 1974 until his retirement in 2004. Faygo was acquired by NBC in 1987, at which time

Defendant Sheridan was promoted from Chief Financial Officer of Faygo to President of Faygo.

Upon information and belief, Defendants N. Caporella and Sheridan have developed personal

and professional connections over their decades-long working relationship that prevent them

from evaluating a demand with independence, especially in light of the substantial likelihood of

liability that Defendant N. Caporella faces in the Securities Class Action, and therefore, demand

is excused as to Defendants N. Caporella and Sheridan.

       185.   Due to the advanced age of Defendants Conlee (82), Hathorn (75), and Sheridan

(75), and their decades long associations with Defendant N. Caporella, Defendants Conlee,

Hathorn, and Sheridan are more willing to risk their reputations than their relationships with




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Defendant N. Caporella, who faces a substantial likelihood of liability in the Securities Class

Action. Indeed, Defendants Hathorn and Conlee have personally defended Defendant N.

Caporella regarding the Hostile Work Environment Misconduct and thereby evidenced their

unwillingness to impartially consider a demand on the Board related to the Hostile Work

Environment Misconduct. In a July 3, 2018 NBC press release, Defendant Hathorn stated that

“The Board is aware of the allegations and knows them to be untrue, based on our knowledge of

Mr. Caporella and the investigation that was conducted.” Further, Defendant Conlee stated in a

July 5, 2018 NBC press release regarding the Hostile Work Environment Misconduct that “I

have known Nick for over 40 years and I find these allegations to be incredulous.”

       186.    In violation of the Code of Ethics, the Directors conducted little, if any, oversight

of the Company’s engagement in Hostile Work Environment Misconduct and issuance of

materially false and misleading statements to the public and to facilitate and disguise the

Individual Defendants’ violations of law, including breaches of fiduciary duty, unjust

enrichment, waste of corporate assets, and violations of Section 14(a) of the Exchange Act. The

Directors also violated the Code of Ethics by retaliating against individuals who reported

violations of the Code of Ethics, or allowed such retaliation to occur. In further violation of the

Code of Ethics, the Directors failed to comply with laws and regulations, maintain the accuracy

of Company records and reports, avoid conflicts of interest, conduct business in an honest and

ethical manner, protect and properly use corporate assets, and properly report violations of the

Code of Ethics. Thus, the Directors face a substantial likelihood of liability and demand is futile

as to them.

       187.    Defendants Sheridan, Hathorn, and Conlee (the “Audit Committee Defendants”)

serve on the Company’s Audit Committee. Pursuant to the Audit Committee Charter, Audit




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Committee Defendants were responsible for reviewing the effectiveness of the Company’s

internal controls, and ensuring compliance with the Company’s Code of Ethics. As a result of the

Audit Committee’s failures of management and oversight, the Audit Committee Defendants face

a substantial likelihood of liability for their breach of fiduciary duties and any demand upon

them is futile.

        188.      As members of the Compensation and Stock Option Committee, Defendants

Conlee, Hathorn, and Sheridan (the “Compensation Committee Defendants”) were responsible

for reviewing all compensation arrangements, including that of Defendant N. Caporella. The

2018 Proxy Statement provides that:

        The principal functions of the Compensation and Stock Option Committee are to
        consider, review and approve all compensation arrangements, including base
        salary, annual incentive awards and stock option grants, for officers and
        employees of the Company and to administer the Company’s employee benefit
        programs. The Compensation and Stock Option Committee does not have a
        charter.

As a result of the Compensation Committee’s failures of management and oversight over the

awarding and reporting of Defendant N. Caporella’s compensation, in particular travel benefits

provided to Defendant N. Caporella, the Compensation Committee Defendants face a substantial

likelihood of liability for their breach of fiduciary duties, and any demand upon them is futile.

        189.      NBC has been and will continue to be exposed to significant losses due to the

wrongdoing complained of herein, yet the Directors have not filed any lawsuits against

themselves or others who were responsible for that wrongful conduct to attempt to recover for

NBC any part of the damages NBC suffered and will continue to suffer thereby. Thus, any

demand upon the Directors would be futile.

        190.      The Individual Defendants’ conduct described herein and summarized above

could not have been the product of legitimate business judgment as it was based on bad faith and



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intentional, reckless, or disloyal misconduct. Thus, none of the Directors can claim exculpation

from their violations of duty pursuant to the Company’s charter (to the extent such a provision

exists). As a majority of the Directors face a substantial likelihood of liability, they are self-

interested in the transactions challenged herein and cannot be presumed to be capable of

exercising independent and disinterested judgment about whether to pursue this action on behalf

of the shareholders of the Company. Accordingly, demand is excused as being futile.

       191.    The acts complained of herein constitute violations of fiduciary duties owed by

NBC’s officers and directors, and these acts are incapable of ratification.

       192.    The Directors may also be protected against personal liability for their acts of

mismanagement and breaches of fiduciary duty alleged herein by directors’ and officers’ liability

insurance if they caused the Company to purchase it for their protection with corporate funds,

i.e., monies belonging to the stockholders of NBC. If there is a directors’ and officers’ liability

insurance policy covering the Directors, it may contain provisions that eliminate coverage for

any action brought directly by the Company against the Directors, known as, inter alia, the

“insured-versus-insured exclusion.” As a result, if the Directors were to sue themselves or certain

of the officers of NBC, there would be no directors’ and officers’ insurance protection.

Accordingly, the Directors cannot be expected to bring such a suit. On the other hand, if the suit

is brought derivatively, as this action is brought, such insurance coverage, if such an insurance

policy exists, will provide a basis for the Company to effectuate a recovery. Thus, demand on the

Directors is futile and, therefore, excused.

       193.    If there is no directors’ and officers’ liability insurance, then the Directors will not

cause NBC to sue the Individual Defendants named herein, as, if they did, they would face a

large uninsured individual liability. Accordingly, demand is futile in that event, as well.




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          194.   Thus, for all of the reasons set forth above, all of the Directors, and, if not all of

them, at least three of the Directors, cannot consider a demand with disinterestedness and

independence. Consequently, a demand upon the Board is excused as futile.

                                           FIRST CLAIM

                         Against Individual Defendants for Violations of
                               Section 14(a) of the Exchange Act

          195.   Plaintiff incorporates by reference and re-alleges each and every allegation set

forth above, as though fully set forth herein.

          196.   The Section 14(a) Exchange Act claims alleged herein are based solely on

negligence. They are not based on any allegation of reckless or knowing conduct by or on behalf

of the Individual Defendants. The Section 14(a) claims alleged herein do not allege and do not

sound in fraud. Plaintiff specifically disclaims any allegations of, reliance upon any allegation of,

or reference to any allegation of fraud, scienter, or recklessness with regard to these nonfraud

claims.

          197.   Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a)(1), provides that “[i]t shall

be unlawful for any person, by use of the mails or by any means or instrumentality of interstate

commerce or of any facility of a national securities exchange or otherwise, in contravention of

such rules and regulations as the [SEC] may prescribe as necessary or appropriate in the public

interest or for the protection of investors, to solicit or to permit the use of his name to solicit any

proxy or consent or authorization in respect of any security (other than an exempted security)

registered pursuant to section 12 of this title [15 U.S.C. § 78l].”

          198.   Rule 14a-9, promulgated pursuant to § 14(a) of the Exchange Act, provides that

no proxy statement shall contain “any statement which, at the time and in the light of the

circumstances under which it is made, is false or misleading with respect to any material fact, or



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which omits to state any material fact necessary in order to make the statements therein not false

or misleading.” 17 C.F.R. §240.14a-9.

        199.     Under the direction and watch of the Directors, the 2018 Proxy Statement failed

to disclose that: (1) Defendant N. Caporella engaged in the Hostile Work Environment

Misconduct; (2) NBC has paid informal “settlements,” in the form of bonuses, to NBC

employees who have been subject to harassment by Defendant N. Caporella; (3) the Company

engaged in the Marketing Misconduct; (4) the Company engaged in unreported related party

transactions with Broad River Aviation, Inc.; (5) Defendant N. Caporella receives undisclosed

compensation, including use of the Company’s jet for his personal ends; (6) the Company’s

claims about the Velocity Methods had no verifiable basis in fact; (7) the Company failed to

maintain internal controls; and (8) as a result of the foregoing, NBC’s public statements were

materially false and misleading at all relevant times.

        200.     The Individual Defendants also caused the 2018 Proxy Statement to be false and

misleading with regard to executive compensation in that they purported to employ “pay-for-

performance” elements while failing to disclose that the Company’s share price was being

artificially inflated by the false and misleading statements made by the Individual Defendants as

alleged herein, and therefore any compensation based on the Company’s share price was

artificially inflated.

        201.     Further, the Individual Defendants also caused the 2018 Proxy Statement to be

false and misleading by reporting the total amount paid to CMA as Defendant N. Caporella’s

compensation, while failing to disclose benefits received by N. Caporella in the form of air travel

on the Company’s jet for personal purposes paid for by NBC.




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       202.    The Individual Defendants further caused the 2018 Proxy Statement to be false

and misleading by disclosing arrangement with CMA as a related party transaction, while failing

to disclose transactions with, or the existence of, Broad River.

       203.    In the exercise of reasonable care, the Individual Defendants should have known

that by misrepresenting or failing to disclose the foregoing material facts, the statements

contained in the 2018 Proxy Statement were materially false and misleading. The

misrepresentations and omissions were material to Plaintiff in voting on the matters set forth for

shareholder determination in the 2018 Proxy Statement, including but not limited to, election of

directors, ratification of an independent auditor, and the approval of officer compensation.

       204.    The Company was damaged as a result of the Individual Defendants’ material

misrepresentations and omissions in the 2018 Proxy Statement.

                                        SECOND CLAIM

              Against the Individual Defendants for Breach of Fiduciary Duties

       205.    Plaintiff incorporates by reference and re-alleges each and every allegation set

forth above, as though fully set forth herein.

       206.    Each Individual Defendant owed to the Company the duty to exercise candor,

good faith, and loyalty in the management and administration of NBC’s business and affairs.

       207.    Each of the Individual Defendants violated and breached his or her fiduciary

duties of candor, good faith, loyalty, reasonable inquiry, oversight, and supervision.

       208.    The Individual Defendants’ conduct set forth herein was due to their intentional or

reckless breach of the fiduciary duties they owed to the Company, as alleged herein. The

Individual Defendants intentionally or recklessly breached or disregarded their fiduciary duties

to protect the rights and interests of NBC.




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       209.     In breach of their fiduciary duties owed to NBC, the Individual Defendants

willfully or recklessly made and/or caused the Company to make false and/or misleading

statements and/or omissions of material fact that failed to disclose that: (1) Defendant N.

Caporella engaged in the Hostile Work Environment Misconduct; (2) NBC has paid informal

“settlements,” in the form of bonuses, to NBC employees who have been subject to harassment

by Defendant N. Caporella; (3) the Company engaged in the Marketing Misconduct; (4) the

Company engaged in unreported related party transactions with Broad River Aviation, Inc.; (5)

Defendant N. Caporella receives undisclosed compensation, including use of the Company’s jet

for his personal ends; (6) the Company’s claims about the Velocity Methods had no verifiable

basis in fact; (7) the Company failed to maintain internal controls; and (8) as a result of the

foregoing, NBC’s public statements were materially false and misleading at all relevant times.

       210.     The Individual Defendants also failed to correct and/or caused the Company to

fail to correct the false and/or misleading statements and/or omissions of material fact, rendering

them personally liable to the Company for breaching their fiduciary duties.

       211.     In further breach of their fiduciary duties owed to NBC, Defendant N. Caporella

engaged in the Hostile Work Environment Misconduct, while the remaining Individual

Defendants willfully or recklessly allowed the Hostile Work Environment Misconduct to occur

and continue.

       212.     Also in breach of their fiduciary duties, the Individual Defendants failed to

maintain internal controls.

       213.     The Individual Defendants had actual or constructive knowledge that the

Company issued materially false and misleading statements, and they failed to correct the

Company’s public statements and representations. The Individual Defendants had actual




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knowledge of the misrepresentations and omissions of material facts set forth herein, or acted

with reckless disregard for the truth, in that they failed to ascertain and to disclose such facts,

even though such facts were available to them. Such material misrepresentations and omissions

were committed knowingly or recklessly and for the purpose and effect of artificially inflating

the price of NBC’s securities, and disguising insider transactions.

       214.    The Individual Defendants had actual or constructive knowledge that they had

caused the Company to improperly engage in the fraudulent schemes set forth herein and to fail

to maintain internal controls. The Individual Defendants had actual knowledge that the Company

was engaging in the fraudulent schemes set forth herein, and that internal controls were not

adequately maintained, or acted with reckless disregard for the truth, in that they caused the

Company to improperly engage in the fraudulent schemes and to fail to maintain adequate

internal controls, even though such facts were available to them. Such improper conduct was

committed knowingly or recklessly and for the purpose and effect of artificially inflating the

price of NBC’s securities, and engaging in insider transactions. The Individual Defendants, in

good faith, should have taken appropriate action to correct the schemes alleged herein and to

prevent them from continuing to occur.

       215.    These actions were not a good-faith exercise of prudent business judgment to

protect and promote the Company’s corporate interests.

       216.    As a direct and proximate result of the Individual Defendants’ breaches of their

fiduciary obligations, NBC has sustained and continues to sustain significant damages.

       217.    As a result of the misconduct alleged herein, the Individual Defendants are liable

to the Company.

       218.    Plaintiff on behalf of NBC has no adequate remedy at law.




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                                         THIRD CLAIM

                    Against Individual Defendants for Unjust Enrichment

       219.    Plaintiff incorporates by reference and re-alleges each and every allegation set

forth above, as though fully set forth herein.

       220.    By their wrongful acts, violations of law, and false and misleading statements and

omissions of material fact that they made and/or caused to be made, the Individual Defendants

were unjustly enriched at the expense of, and to the detriment of, NBC.

       221.    The Individual Defendants, based on improper conduct, received bonuses, stock

options, or similar compensation from NBC that was tied to the performance or artificially

inflated valuation of NBC, received compensation that was unjust in light of the Individual

Defendants’ bad faith conduct, or received excessive compensation.

       222.    Defendant N. Caporella received undisclosed and unwarranted benefits in the

form of air travel on the Company’s jet, paid for by NBC.

       223.    Plaintiff, as a shareholder and a representative of NBC, seeks restitution from the

Individual Defendants and seeks an order from this Court disgorging all profits, including from

insider transactions, benefits, and other compensation, including any performance-based or

valuation-based compensation, obtained by the Individual Defendants due to their wrongful

conduct and breach of their fiduciary and contractual duties.

       224.    Plaintiff on behalf of NBC has no adequate remedy at law.

                                        FOURTH CLAIM

                Against Individual Defendants for Waste of Corporate Assets

       225.    Plaintiff incorporates by reference and re-alleges each and every allegation set

forth above, as though fully set forth herein.




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       226.    As a result of the foregoing, the Company incurred legal and settlement costs

associated with the Misconduct Actions.

       227.    As a result of the foregoing, the Company incurred the costs of paying “bonuses”

to employees of NBC who were subjected to harassment by Defendant N. Caporella.

       228.    Further, the Company incurred the costs of Defendant N. Caporella’s personal

travel on the Company’s jet, without disclosing that Defendant N. Caporella receives such

benefits.

       229.    As a result of the waste of corporate assets, the Individual Defendants are each

liable to the Company.

       230.    Plaintiff on behalf of NBC has no adequate remedy at law.

                                    PRAYER FOR RELIEF

       FOR THESE REASONS, Plaintiff demands judgment in the Company’s favor against all

Individual Defendants as follows:

               (a)    Declaring that Plaintiff may maintain this action on behalf of NBC, and

that Plaintiff is an adequate representative of the Company;

               (b)    Declaring that the Individual Defendants have breached and/or aided and

abetted the breach of their fiduciary duties to NBC;

               (c)    Determining and awarding to NBC the damages sustained by it as a result

of the violations set forth above from each of the Individual Defendants, jointly and severally,

together with pre-judgment and post-judgment interest thereon;

               (d)    Directing NBC and the Individual Defendants to take all necessary actions

to reform and improve its corporate governance and internal procedures to comply with

applicable laws and to protect NBC and its shareholders from a repeat of the damaging events

described herein, including, but not limited to, putting forward for shareholder vote the following


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resolutions for amendments to the Company’s Bylaws or Certificate of Incorporation and the

following actions as may be necessary to ensure proper corporate governance policies:

                     1. a proposal to strengthen the Board’s supervision of operations and develop

            and implement procedures for greater shareholder input into the policies and

            guidelines of the board;

                     2. a provision to permit the shareholders of NBC to nominate at least three

            candidates for election to the Board; and

                     3. a proposal to ensure the establishment of effective oversight of compliance

            with applicable laws, rules, and regulations.

               (e)      Awarding NBC restitution from Individual Defendants, and each of them;

               (f)      Awarding Plaintiff the costs and disbursements of this action, including

reasonable attorneys’ and experts’ fees, costs, and expenses; and

               (g)      Granting such other and further relief as the Court may deem just and

proper.




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Dated: November 2, 2018                Respectfully submitted,

Of Counsel:                            FARNAN LLP

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